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     1    DAVID R. ZARO (BAR NO. 124334)
          JOSHUA A. DEL CASTILLO (BAR NO. 239015)
     2    NORMAN M. ASPIS (BAR NO. 313466)
          ALLEN MATKINS LECK GAMBLE
     3      MALLORY & NATSIS LLP
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                  naspis@allenmatkins.com
     7
          Attorneys for Receiver
     8    THOMAS A. SEAMAN
     9                            UNITED STATES DISTRICT COURT
    10                          SOUTHERN DISTRICT OF CALIFORNIA
    11
    12 SECURITIES AND EXCHANGE                        Case No. 15-cv-226 BAS-MSB
       COMMISSION,
    13                                                NO ORAL ARGUMENT UNLESS
                     Plaintiff,                       REQUESTED BY THE COURT
    14
             v.                                       FINAL APPLICATION FOR
    15                                                PAYMENT OF FEES OF RECEIVER,
       TOTAL WEALTH MANAGEMENT,                       THOMAS A. SEAMAN
    16 INC.; et al.,
                                                      [Notice of Applications for Payment of
    17                   Defendants.                  Fees and Reimbursement of Expenses;
                                                      Final Application of Allen Matkins;
    18                                                Memorandum of Points and Authorities;
                                                      Declaration of Thomas A. Seaman; and
    19                                                [Proposed] Order submitted concurrently
                                                      herewith]
    20
                                                      Date: March 2, 2020
    21                                                Ctrm: 4B
                                                      Judge: Hon. Cynthia Bashant
    22
    23
    24             This Court appointed Kristen A. Janulewicz (the "Original Receiver") as the
    25 permanent receiver for Defendant Total Wealth Management, Inc. ("Total Wealth")
    26 and its subsidiaries and affiliates including, but not limited to, Altus Capital
    27 Management, LLC (collectively, the "Receivership Entities" or "Entities") pursuant
    28 its February 12, 2015 "(1) Preliminary Injunction, Appointment of a Permanent
                                                                        Case No. 15-cv-226 BAS (DHB)

         1192680.03/LA
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     1 Receiver, and Related Orders; and (2) Order Vacating Hearing on Preliminary
     2 Injunction" (the "Permanent Appointment Order"). On June 7, 2016, the Court
     3 substituted Thomas A. Seaman (the "Successor Receiver") for the Original Receiver
     4 via an Order Approving Joint Stipulation to Substitute Thomas A. Seaman as
     5 Permanent Receiver. The Original Receiver and the Successor are sometimes
     6 referred to simply as Receiver where the distinction is unimportant.
     7        Mr. Seaman, in his capacity as the Successor Receiver for the Receivership
     8 Entities hereby submits this Final Application for Payment of Fees (the
     9 "Application"). The Application covers the period from August 1, 2018 through
    10 December 31, 2019 (the "Application Period"). As reflected below, during the
    11 Application Period, the Successor Receiver and his staff spent a total of 298.5 hours
    12 working on behalf of the Receivership Entities, at a weighted average rate of $139
    13 per hour, and incurred fees totaling $41,491.50. The Successor Receiver requests
    14 that this Court approve 100% of the Successor Receiver's fees incurred during the
    15 Application Period.
    16        From the inception of the case, the Receiver has incurred fees of $542,645.40;
    17 of which $501,153.90 was approved, $451,039.01 was paid, and $50,115.89 was
    18 held back pending the approval of the final fee application. As discussed below, this
    19 Final Application also seeks approval of payment of the previously-approved sum of
    20 $50,115.89 (the "Holdback Amount"), for which payment was withheld pursuant to
    21 prior fee applications. The Court previously approved these fees, however, payment
    22 was withheld pending submission of the Final Application. Thus, the total amount
    23 requested for payment is $91,607.39.
    24 I.     WORK PERFORMED BY THE ORIGINAL RECEIVER AND
    25        SUCCESSOR RECEIVER.
    26      (1)    The Receiver continued to work to recover additional assets of the
    27             Receivership Entities ("Receivership Assets" or "Assets").        Gross
    28             receipts for the Application Period were $71,013.00, and include
                                                                    Case No. 15-cv-226 BAS (DHB)

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     1             collection of the PPCN settlement proceeds and interest income of
     2             $45,213.18, bringing the total cash on hand for the benefit and
     3             administration of the Entities to $562,989.50.
     4       (2)   The Receiver accounted for the receipts and disbursements of the estate
     5             and establish a reserve for remaining liabilities of the receivership and
     6             determined the amount available for distribution to investors.
     7       (3)   The Receiver sought approval to make a distribution to investors and
     8             claimants and disbursed $2,831,781.02 accordingly.
     9       (4)   Managed excess cash resources of the receivership by investing in US
    10             Treasury securities which earned interest income of $45,213.18 during
    11             the Application Period.
    12       (5)   The Receiver also reviewed and responded to inquiries from investors
    13             and other third parties, largely arising from questions and issues in
    14             connection with the distribution, including change of addresses, re-
    15             issuance of checks due to death or divorce of the claimant, and other
    16             issues.
    17       (6)   The Receiver filed tax returns and reviewed and negotiated reductions
    18             to the tax accountants bill.
    19       (7)   The Receiver monitored investor litigation pending against the
    20             Receivership Entities and ensured it remained stayed in accordance
    21             with the terms of the Permanent Appointment Order.
    22 II.    ASSET RECOVERY SUMMARY.
    23        As reflected above, the Receiver made substantial progress in the ongoing
    24 recovery of Receivership Assets. From inception through the end of the Application
    25 Period, the Receiver's efforts resulted in the recovery of approximately $5,032,901
    26 in gross receipts. During the Application Period, the Successor Receiver's efforts
    27 resulted in the recovery of $71,013 in Assets, broken down as follows:
    28
                                                                      Case No. 15-cv-226 BAS (DHB)

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     1               •     Third-Party Litigation Income           $      25,000
     2               •     Interest                                $      45,213
     3               •     Tax refund                              $          800
     4                     Total                                   $      71,013
     5        For the duration of the receivership, the total Receiver’s fees were $542,645
     6 and were 10.8% of the gross receipts of $5,032,901 to the receivership estate. On
     7 this basis, the Receiver believes his fees to be reasonable and respectfully requests
     8 the Court to approve the fees in full.
     9        As of December 31, 2019, the Receiver was holding cash in the amount of
    10 $562,989.50.
    11 III.   SUMMARY OF RECEIVER'S FEES.
    12        A.     Summary Of Receiver's Fees By Category of Work.
    13        The total fees of $41,491.50, incurred from August 1, 2018, through
    14 December 31, 2019, can be broken down into the following categories of work:
    15                           Task                   Amount     Percentage
    16              Accounting and Reporting             $6,285.00      15.1%
    17              Investor Relations                  $25,352.50      61.1%
                    Project Management                   $3,038.00       7.3%
    18
                    Receiver                             $6,237.00      15.0%
    19              Receivership Administration           $579.00        1.4%
    20              Totals                              $41,491.50    100.0%
    21
    22        B.     Summary of Receiver's Fees By Timekeeper.
    23        Exhibit A, attached hereto, includes each and every time entry during the
    24 Application Period for which the Receiver has requested compensation, on a month-
    25 by-month basis. Each month’s time entries are further sorted alphabetically by task
    26 name, then alphabetically by timekeeper.
    27        Exhibit B, attached hereto, provides a summary, by timekeeper, setting forth
    28 the amount of time spent by the Receiver and his staff at each timekeeper's specific
                                                                       Case No. 15-cv-226 BAS (DHB)

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     1 hourly rate. As reflected therein, the Successor Receiver and his agents expended
     2 298.5 hours during the Application Period, for fees totaling $41,491.50. In order to
     3 manage the administration of the Receivership Entities' Estate in as cost-effective a
     4 manner as possible, the Successor Receiver delegated some assignments to staff
     5 billed at hourly rates ranging from $60 to $270 per hour. These agents performed
     6 accounting, bookkeeping, financial analysis, business management, investor
     7 relations, debt collection, litigation support, asset management, and other services.
     8 During the Application Period, the Successor Receiver's agents expended 275.4
     9 hours of work, at an average rate of $128 per hour.
    10        By using qualified staff largely billing at significantly lower hourly rates, the
    11 Successor Receiver was able to achieve a weighted average hourly (blended) rate of
    12 $139 per hour for this Application Period. In order to further conserve assets, the
    13 Successor Receiver agreed to reduce his hourly rate of $400 to $270, the rate at
    14 which the Original Receiver billed, thus saving $17,576 over the duration of the
    15 receivership.
    16        In his reasonable business judgment, the Successor Receiver believes the
    17 hourly rates charged by both the Successor Receiver and by his counsel are
    18 appropriate, given the requirements of the receivership, that the services performed
    19 benefitted the Estate, and that the total fees for which he seeks approval are fair and
    20 reasonable.
    21        C.       Charges By Task.
    22        Below is a summary breakdown of work by functional area, including
    23 accounting and reporting, administration, forensic accounting, financial analysis,
    24 forensic accounting, investor relations, litigation support, project management,
    25 receiver, and receivership administration. This summary breakdown details the
    26 categories of tasks performed by the Successor Receiver, and the Successor
    27 Receiver’s agents, and includes total costs for each task. The largest cost category
    28 was Investor Relations which encompassed the administration, verification, and
                                                                       Case No. 15-cv-226 BAS (DHB)

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     1 reconciliation of claims. The total hours and cost by task for the Application Period
     2 are as follows.
     3                       Task                       Hours   Rate       Amount
     4          Accounting and Reporting                 47.7    $132      $6,285.00
     5          Investor Relations                     205.4     $123      $25,352.50
                Project Management                      16.0     $190       $3,038.00
     6
                Receiver                                23.1     $270       $6,237.00
     7          Receivership Administration              6.3      $92        $579.00
     8          Totals                                 298.5     $139      $41,491.50
     9
    10 IV.    CONCLUSION.
    11        The Successor Receiver believes that the rates, as reflected above, are fair and
    12 reasonable given the scope of the work required. The Successor Receiver
    13 respectfully requests that the Court enter an Order approving the $41,491.50 in fees
    14 incurred during the Application Period and authorizing the payment of these fees
    15 plus the fees previously approved but held back in the amount of $50,115.89, for a
    16 total amount of $91,607.39.
    17
    18 Dated: January 23, 2020                    ALLEN MATKINS LECK GAMBLE
                                                    MALLORY & NATSIS LLP
    19                                            DAVID R. ZARO
                                                  JOSHUA A. DEL CASTILLO
    20                                            NORMAN M. ASPIS
    21
                                                  By:        /s/    David R. Zaro
    22                                                  DAVID R. ZARO
                                                        Attorneys for Receiver
    23                                                  THOMAS A. SEAMAN
    24
    25
    26
    27
    28
                                                                      Case No. 15-cv-226 BAS (DHB)

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      Securities and Exchange Commission v. Total Wealth Management, Inc., et al.,
               USDC, SD of California, Case No. 3:15-cv-00226 BAS-MSB

                                             INDEX OF EXHIBITS

     Exhibit                                     Description                         Page

          A                     Detailed time slips for application period, month-     7
                                by-month basis, sorted alphabetically by task name
                                and by timekeeper

          B                     Summary of time slips by timekeeper and hourly         70
                                rate




   1195126.03/LA
   374747-00002/1-22-20/md/md
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                         Hrs/Rate     Amount

           Accounting & Reporting

  8/1/2018 AJ     Accounting & Reporting                                                    0.20       42.00
                  Review emails from Tim, Tom, and Josh re report timing and dates to     210.00/hr
                  be covered. Receive direction from Tom re financial reports needed
                  by Friday.

  8/2/2018 AJ     Accounting & Reporting                                                    0.40       84.00
                  Confer with Tom re reports needed. Locate and print statements.         210.00/hr
                  Reconcile accounts.

  8/3/2018 AJ     Accounting & Reporting                                                    3.10      651.00
                  Direction to Kim re downloading documents from PACER. Finish            210.00/hr
                  account reconciliations. Make month end entries and run reports.
                  Review ruling on settlement funds and make entries. Call with Tom re
                  dates needed. Confer with Tim re same. Review emails. Call to Josh
                  and l/m re reports. Email to group the financials requested.

  8/6/2018 MRF Accounting & Reporting                                                       0.60       54.00
               Call with CPA re 2017 financials forwarded and items to include in          90.00/hr
               returns.

           AJ     Accounting & Reporting                                                    0.20       42.00
                  Prepare financial reports for Tom to review and finalize report.        210.00/hr

  8/7/2018 MRF Accounting & Reporting                                                       1.20      108.00
               Responded to email from CPA re various fund receipts in 2017.               90.00/hr
               Reviewed accounting and responded. Call with CPA re K-1s received,
               discrepancies, and proper handling for tax reporting.




                                                                                         Exhibit A - Page 7
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       2

                                                                                             Hrs/Rate        Amount

   8/7/2018 AJ     Accounting & Reporting                                                       0.30             63.00
                   Prepare exhibits for report. Emails with Tom and Josh re same.             210.00/hr

            AJ     Accounting & Reporting                                                       0.30             63.00
                   Call with Tom and Josh re financials. Redo the financials and email        210.00/hr
                   same.

   8/8/2018 MRF Accounting & Reporting                                                          1.10             99.00
                Reviewed emails re K-1 tax issues and responded with documents to              90.00/hr
                CPA. Follow up calls to discuss asset valuations and distributions
                received pre/post Receiver along with tax implications.

  8/17/2018 MRF Accounting & Reporting                                                          0.90             81.00
                Call with CPA to discuss financials provided for 2017 receivership tax         90.00/hr
                return, asset write-downs, and prior year K-1s.

  8/20/2018 MRF Accounting & Reporting                                                          0.50             45.00
                Responded to email from CPA re tax questions on certain items for              90.00/hr
                the 2017 return.

  8/23/2018 MRF Accounting & Reporting                                                          0.30             27.00
                Follow up call with CPA re 2017 tax items.                                     90.00/hr

  8/24/2018 MRF Accounting & Reporting                                                          1.60         144.00
                Located fund administrator and sent request for missing prior year             90.00/hr
                K-1s. Forwarded response to CPA re same. Reviewed year-end
                asset values and determined which assets could be written off due to
                having already received the final distributions from the fund
                administrators.

  8/27/2018 MRF Accounting & Reporting                                                          0.70             63.00
                Call with CPA to discuss information received re prior year K-1s and           90.00/hr
                tax implications. Discussed appropriate asset write-offs, etc.

  8/31/2018 MRF Accounting & Reporting                                                          0.60             54.00
                Reviewed request from CPA re professional fees incurred for tax                90.00/hr
                reporting. Gathered information and responded accordingly.


            SUBTOTAL:                                                                    [     12.00        1,620.00]

            Investor Relations

   8/1/2018 KW     Investor Relations                                                           0.40             32.00
                   Phone calls with Chirico again with questions about updates.                80.00/hr

   8/3/2018 TM     Investor Relations                                                           0.10             16.50
                   Received email re items to post re Claims process.                         165.00/hr




                                                                                             Exhibit A - Page 8
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                     Page       3

                                                                                           Hrs/Rate        Amount

   8/6/2018 KW    Investor Relations                                                          0.60             48.00
                  Phone calls with two claimants answering detailed update questions.        80.00/hr

            TM    Investor Relations                                                          1.50         247.50
                  Received email with items to post to website. Posted. Attempted to        165.00/hr
                  have entire pdf loaded onto page.

   8/7/2018 KW    Investor Relations                                                          1.80         144.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions.

            TM    Investor Relations                                                          1.60         264.00
                  Attempted different types of emails for attachments of motion             165.00/hr
                  documents. Sent email with links. Email to Diaz to ask Zaro if it is
                  acceptable. Received reply that she will check with Zaro re same.
                  Conference call with Tom, Alison and Zaro re same.

            AJ    Investor Relations                                                          0.10             21.00
                  Review email from investor and forward to Tom for response.               210.00/hr

            AJ    Investor Relations                                                          0.70         147.00
                  Call with Tom, Tim, and David Zaro re mailing notice to claimants.        210.00/hr
                  Discuss with Kim and provide direction re same. Emails with additional
                  info.

   8/8/2018 KW    Investor Relations                                                          2.80         224.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions. Had to find and evaluate claim left off of excel.

            AJ    Investor Relations                                                          0.40             84.00
                  Review emails re investors with questions on claim calculation, etc.      210.00/hr
                  Calls with Kim and Tom re same. Give Kim direction on responses,
                  etc. Follow up with Kim re investor notice mailing.

   8/9/2018 KW    Investor Relations                                                          0.70             56.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions.

            TM    Investor Relations                                                          1.80         297.00
                  Received items to post to TWM website and posted. Email to                165.00/hr
                  subscribers, email to group.

  8/10/2018 KW    Investor Relations                                                          0.40             32.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions.

  8/13/2018 KW    Investor Relations                                                          1.50         120.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions.

  8/14/2018 KW    Investor Relations                                                          0.70             56.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions.




                                                                                           Exhibit A - Page 9
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       4

                                                                                             Hrs/Rate         Amount


  8/14/2018 AJ    Investor Relations                                                             0.60         126.00
                  Review investor messages, confer with Kim re same.                           210.00/hr

  8/15/2018 KW    Investor Relations                                                             1.90         152.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

            AJ    Investor Relations                                                             0.90         189.00
                  Review messages and confer with Kim re corrections to claims, etc.           210.00/hr
                  Review claims detail and search records for additional info related to
                  claim adjustment. Direct Kim re same.

  8/16/2018 AJ    Investor Relations                                                             0.10             21.00
                  Review message from claimant and consider.                                   210.00/hr

            TM    Investor Relations                                                             1.50         247.50
                  Posted recent report to Court and edited previous post to fix link. Sent     165.00/hr
                  emails to subscribers.

  8/17/2018 TM    Investor Relations                                                             0.10             16.50
                  Email from Diaz re investor needing address change.                          165.00/hr

  8/20/2018 KW    Investor Relations                                                             0.70             56.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

            AJ    Investor Relations                                                             0.40             84.00
                  Review message from investor forwarded from Allen Matkins. Send to           210.00/hr
                  Kim to respond. Confer with Kim re issues with mailing, and give
                  direction on sending letter via overnight mail. Review email from Tom
                  inquiring about delivery issue.

  8/21/2018 KW    Investor Relations                                                             0.60             48.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

  8/22/2018 KW    Investor Relations                                                             1.20             96.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

  8/23/2018 KW    Investor Relations                                                             0.40             32.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

  8/27/2018 KW    Investor Relations                                                             0.60             48.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

  8/28/2018 KW    Investor Relations                                                             0.50             40.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.




                                                                                             Exhibit A - Page 10
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                          Page       5

                                                                                               Hrs/Rate         Amount


  8/28/2018 AJ    Investor Relations                                                               0.40             84.00
                  Review emails from investors. Review email from Josh re opposition             210.00/hr
                  to Receivers motion. Confer with Tom re same. Review Josh's
                  response to same.

  8/29/2018 AJ    Investor Relations                                                               0.20             42.00
                  Confer with Tom and advise re additional claims that need to be                210.00/hr
                  corrected.

  8/30/2018 AJ    Investor Relations                                                               0.10             21.00
                  Review and forward email to Kim for updating address.                          210.00/hr


            SUBTOTAL:                                                                      [      25.30        3,092.00]

            Project Management

  8/13/2018 TM    Project Management                                                               1.00         165.00
                  Downloaded PACER documents re case and searched for info related               165.00/hr
                  to fee apps and reports.

  8/14/2018 DC    Project Management                                                               0.10             16.00
                  Reviewed information from Tim McDonnell regarding SFAR and                     160.00/hr
                  looked up data in prior report.

  8/16/2018 AJ    Project Management                                                               0.10             21.00
                  Review message from Tim re report posting. Review email from Josh              210.00/hr
                  re hearing taken off calendar.

  8/20/2018 AJ    Project Management                                                               0.20             42.00
                  Call with Tom re hearing in SD. Advise that it was taken off calendar.         210.00/hr
                  Review and forward email from Josh re same.

  8/22/2018 TM    Project Management                                                               0.10             16.50
                  Downloaded document from PACER.                                                165.00/hr


            SUBTOTAL:                                                                      [       1.50         260.50]

            Receiver

   8/7/2018 TAS   Receiver                                                                         0.40         108.00
                  Meeting with Tim and David Zaro and Alison re extra notice to                  270.00/hr
                  claimants whose claim re are disputing.

  8/18/2018 TAS   Receiver                                                                         0.60         162.00
                  Telephone call with Frank Scollan re PPCN and Hartmann retrade,                270.00/hr
                  latest counter, review and telephone call with Frank re response.




                                                                                               Exhibit A - Page 11
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                  Page       6

                                                                                       Hrs/Rate         Amount

  8/23/2018 TAS   Receiver                                                                 0.30             81.00
                  Receive request from SEC re PPCN demand, retrieve and forward.         270.00/hr


            SUBTOTAL:                                                              [       1.30         351.00]

            Receivership Administration

   8/3/2018 KW    Receivership Administration                                              1.80         144.00
                  Downloading and saving documents from Pacer.                            80.00/hr


            SUBTOTAL:                                                              [       1.80         144.00]

            For professional services rendered                                            41.90       $5,467.50


            Balance due                                                                               $5,467.50




                                                                                       Exhibit A - Page 12
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                             Hrs/Rate       Amount

           Accounting & Reporting

  8/1/2018 TM     Accounting & Reporting                                                        0.20    NO CHARGE
                  Direction from Tom re fee app for TWM. Started checking timeslips.          165.00/hr
                  Email to group re upcoming fee app and dates.

  8/3/2018 TM     Accounting & Reporting                                                        0.60    NO CHARGE
                  Put together initial spreadsheet for Tom's review of 18-month period        165.00/hr
                  for upcoming fee app.

 8/10/2018 TM     Accounting & Reporting                                                        2.30    NO CHARGE
                  Entered timeslips info into narrative of upcoming fee app. Email to         165.00/hr
                  Tom.

 8/13/2018 TM     Accounting & Reporting                                                        1.00    NO CHARGE
                  Entered timeslip info into narrative. Researched SFAR info.                 165.00/hr

 8/14/2018 TM     Accounting & Reporting                                                        2.40    NO CHARGE
                  Entered timeslip info into fee app. Made exhibits for Tom and gave          165.00/hr
                  to him. Email from attorney and Tom re making exhibits for fee app.

 8/15/2018 TM     Accounting & Reporting                                                        0.10    NO CHARGE
                  Questions from Tom re Total Wealth app. Replied re same.                    165.00/hr

 8/16/2018 TM     Accounting & Reporting                                                        1.30    NO CHARGE
                  Made exhibits for fee app. Emails to and from Matthew re fee app            165.00/hr
                  for Crowe.


           SUBTOTAL:                                                                     [      7.90          0.00]




                                                                                              Exhibit A - Page 13
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                        Page        2

                                                                  Hours        Amount
            For professional services rendered                     7.90           $0.00


            Balance due                                                           $0.00




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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                             Hrs/Rate      Amount

           Accounting & Reporting

 9/13/2018 MRF Accounting & Reporting                                                            0.30       27.00
               Call with CPA re progress with tax returns.                                      90.00/hr

 9/28/2018 MRF Accounting & Reporting                                                            0.30       27.00
               Reviewed vendor invoices and processed accounts payable.                         90.00/hr


           SUBTOTAL:                                                                     [       0.60       54.00]

           Investor Relations

  9/4/2018 AJ     Investor Relations                                                             0.30       63.00
                  Review correspondence from claimants, confer with Kim re same.               210.00/hr

  9/5/2018 AJ     Investor Relations                                                             0.20       42.00
                  Review email from Tom regarding claims modification. Respond to              210.00/hr
                  same.

           AJ     Investor Relations                                                             0.40       84.00
                  Confer with Kim re info needed on claims to be modified. Review info         210.00/hr
                  and give direction.

           AJ     Investor Relations                                                             0.20       42.00
                  Review email from Josh related to claims motion, and respond to              210.00/hr
                  same.

  9/6/2018 KW     Investor Relations                                                             2.70      216.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions. Investigating last minute possible objections.




                                                                                             Exhibit A - Page 15
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       2

                                                                                            Hrs/Rate         Amount


   9/6/2018 AJ    Investor Relations                                                            1.40         294.00
                  Review claims to be changed and confer with Kim re same. Prepare            210.00/hr
                  updated worksheet with modified claims. Call with Josh to discuss
                  format, etc. Revise the report, finalize and email to Josh to review.

   9/7/2018 KW    Investor Relations                                                            1.80         144.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions. Investigating last minute possible objections.

            AJ    Investor Relations                                                            0.10             21.00
                  Email investor communication to Kim for response.                           210.00/hr

  9/10/2018 TM    Investor Relations                                                            1.20         198.00
                  Email from Diaz re item to post to website. Downloaded and saved,           165.00/hr
                  made narrative. Gave to Kimberley with instructions. Made
                  spreadsheet of all contacts for her to cross-reference and emial to the
                  Receiver's Reply Re Claims and Objections. Posted to website.
                  Checked link. Made email and sent to subscribers. Sent email to
                  group re same re yesterday's posting and emailing of Receiver's Reply.

            KW    Investor Relations                                                            2.50         200.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions. Working on getting out the latest update to those
                  not on the email update list.

  9/11/2018 KW    Investor Relations                                                            2.80         224.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions. Working on getting out the latest update to those
                  not on the email update list.

  9/12/2018 KW    Investor Relations                                                            3.50         280.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions. Working on getting out the latest update to those
                  not on the email update list.

  9/13/2018 KW    Investor Relations                                                            1.30         104.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions. Investigating last minute possible objections.

  9/14/2018 KW    Investor Relations                                                            0.60             48.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions. Investigating last minute possible objections.

  9/17/2018 KW    Investor Relations                                                            1.70         136.00
                  Many phone calls and returned emails of claimants answering detailed         80.00/hr
                  update questions. Quick investigating last minute possible objections.




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                          Page       3

                                                                                               Hrs/Rate         Amount

  9/17/2018 TM    Investor Relations                                                               0.10             16.50
                  Call from Alison re need for update to website.                                165.00/hr

  9/18/2018 KW    Investor Relations                                                               0.80             64.00
                  Phone calls and returned emails of claimants answering detailed                 80.00/hr
                  update questions. Quick investigating last minute possible objections.

  9/20/2018 KW    Investor Relations                                                               0.30             24.00
                  Phone conversation with Peter Chirico.                                          80.00/hr

  9/21/2018 TM    Investor Relations                                                               1.00         165.00
                  Posted update to Total Wealth website and sent out email.                      165.00/hr

  9/26/2018 KW    Investor Relations                                                               0.80             64.00
                  Email and a bit of research for Kimberly A McKinney.                            80.00/hr


            SUBTOTAL:                                                                      [      23.70        2,429.50]

            Project Management

   9/7/2018 AJ    Project Management                                                               0.10             21.00
                  Review email from IRA custodian and forward to Tom for response.               210.00/hr

  9/25/2018 AJ    Project Management                                                               0.10             21.00
                  Review emails from Matt and Kim re vendor bill for notice mailing.             210.00/hr


            SUBTOTAL:                                                                      [       0.20             42.00]

            Receiver

  9/28/2018 TAS   Receiver                                                                         0.30             81.00
                  Telephone call with David Zaro re SEC complaint against PPCN,                  270.00/hr
                  email Frank re settlement.


            SUBTOTAL:                                                                      [       0.30             81.00]

            For professional services rendered                                                    24.80       $2,606.50


            Balance due                                                                                       $2,606.50




                                                                                               Exhibit A - Page 17
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                              Hrs/Rate      Amount

           Accounting & Reporting

10/11/2018 MRF Accounting & Reporting                                                             0.30       27.00
               Call with CPA re status of tax returns.                                           90.00/hr

10/15/2018 MRF Accounting & Reporting                                                             1.20      108.00
               Met with Receiver to execute tax returns, saved digital copies on                 90.00/hr
               server, and gave instructions to Bonnie Carver re certified mailing of
               returns.

10/24/2018 AJ     Accounting & Reporting                                                          0.20       42.00
                  Call from taxing authority in UT. Looked up tax bills and confer with         210.00/hr
                  Kim re claims sent/ filed, etc. Called and left a message.

           AJ     Accounting & Reporting                                                          0.80      168.00
                  Call with UT tax person re claim form received. Advised that bar date         210.00/hr
                  has passed. Reviewed notices, and discussed the last return filed and
                  reconciliation needed, letter, etc.


           SUBTOTAL:                                                                      [       2.50      345.00]

           Investor Relations

 10/1/2018 KW     Investor Relations                                                              0.60       48.00
                  Ensuring all addresses are up to date on the correct excel.                    80.00/hr

 10/2/2018 AJ     Investor Relations                                                              0.30       63.00
                  Confer with Heidi re investor to see Tom. Confer with Tom re same.            210.00/hr
                  Look up info and call with Tom and Josh re same. Email Josh re




                                                                                              Exhibit A - Page 18
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       2

                                                                                             Hrs/Rate         Amount

                  findings on condo that was sold.

  10/2/2018 AJ    Investor Relations                                                             0.50         105.00
                  Call from Tom and receive direction to look into property sales by           210.00/hr
                  Cooper. Log in and review title history for both Cooper properties.
                  Create file and save info.

            KW    Investor Relations                                                             1.30         104.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions. Investigating last minute possible objections.

  10/4/2018 KW    Investor Relations                                                             1.60         128.00
                  Dealing with Mark Parsons Claim.                                              80.00/hr

  10/5/2018 AJ    Investor Relations                                                             0.60         126.00
                  Review email from investor and confer with Kim re same. Provide              210.00/hr
                  instruction re researching claim, etc. Review results and discuss.

  10/8/2018 KW    Investor Relations                                                             1.10             88.00
                  Dealing with Mark Parsons Claim, and other investor inquiries.                80.00/hr

  10/9/2018 KW    Investor Relations                                                             0.80             64.00
                  Dealing with Mark Parsons Claim, and other investor inquiries.                80.00/hr

 10/19/2018 KW    Investor Relations                                                             0.70             56.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

            AJ    Investor Relations                                                             0.20             42.00
                  Review emails from investors and forward to Kim for response.                210.00/hr

 10/22/2018 AJ    Investor Relations                                                             0.20             42.00
                  Review email from IRA custodian. Confer with Kim re same.                    210.00/hr

 10/29/2018 TM    Investor Relations                                                             0.30             49.50
                  Email from Diaz with fee apps to post to website. Saved items to             165.00/hr
                  pubdocs.

 10/30/2018 KW    Investor Relations                                                             2.60         208.00
                  Looking into Chris and Ann Lee's claims and long discussion with              80.00/hr
                  investor that came in with questions about Tony Hartman and PPCN.

            AJ    Investor Relations                                                             0.40             84.00
                  Confer with Kim re investor inquiry. Provide instruction and discuss         210.00/hr
                  findings.

 10/31/2018 KW    Investor Relations                                                             0.70             56.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.


            SUBTOTAL:                                                                    [      11.90        1,263.50]




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                           Page       3

                                                                                                Hrs/Rate         Amount

            Project Management

 10/25/2018 AJ    Project Management                                                                0.20             42.00
                  Review email from Josh and review declaration. Call with Tom re                 210.00/hr
                  same. Send signed declaration to Josh for filing.

 10/29/2018 AJ    Project Management                                                                0.40             84.00
                  Review email from Martha with items filed and to be posted to                   210.00/hr
                  website. Review attachments.

 10/31/2018 AJ    Project Management                                                                2.40         504.00
                  Review email from Tom related to TWM subpoena. Review files and                 210.00/hr
                  run search for the audio files. Confer with Darren re radio show files,
                  review email re same. Set up folder in dropbox and load files. Finalize
                  and email link to Tom for use by attorney to review the subpoenaed
                  records.


            SUBTOTAL:                                                                       [       3.00         630.00]

            Receiver

  10/4/2018 TAS   Receiver                                                                          0.40         108.00
                  Meet with concerned investor re claims questions, PPCN.                         270.00/hr

 10/11/2018 TAS   Receiver                                                                          0.30             81.00
                  Place excess cash in treasury securities.                                       270.00/hr

 10/31/2018 TAS   Receiver                                                                          0.20             54.00
                  Receive inquiry from AUSA re radio recordings, direct and confer with           270.00/hr
                  Alison re same, follow up and complete.


            SUBTOTAL:                                                                       [       0.90         243.00]

            Receivership Administration

 10/15/2018 BC    Receivership Administration                                                       0.50             30.00
                  Prepared Certified mail for tax returns.                                         60.00/hr

 10/24/2018 BC    Receivership Administration                                                       0.50             30.00
                  Prepared Certified mail for tax returns.                                         60.00/hr


            SUBTOTAL:                                                                       [       1.00             60.00]

            For professional services rendered                                                     19.30       $2,541.50


            Balance due                                                                                        $2,541.50




                                                                                                Exhibit A - Page 20
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                          Hrs/Rate       Amount

           Accounting & Reporting

10/22/2018 TM     Accounting & Reporting                                                     0.10    NO CHARGE
                  Calls from Tom re SFAR for fee app. Made into pdf and sent to del        165.00/hr
                  Castillo.


           SUBTOTAL:                                                                  [      0.10          0.00]

           For professional services rendered                                                0.10         $0.00


           Balance due                                                                                    $0.00




                                                                                           Exhibit A - Page 21
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                              Hrs/Rate      Amount

           Investor Relations

 11/2/2018 AJ     Investor Relations                                                              0.40       84.00
                  Call with investor and review claim.                                          210.00/hr

11/13/2018 AJ     Investor Relations                                                              0.30       63.00
                  Review claims to be added/ adjusted. Draft email to Tom and Josh re           210.00/hr
                  same. Confer with Kim re details and give direction re same.

11/14/2018 KW     Investor Relations                                                              1.30      104.00
                  Evaluating Mark Parsons claim. Spoke with him on the phone to clarify          80.00/hr
                  claim.

           AJ     Investor Relations                                                              0.50      105.00
                  Review Parsons claim, confer with Kim re same.                                210.00/hr

11/26/2018 AJ     Investor Relations                                                              1.00      210.00
                  Confer with Kim re claim additions. Review email from Josh re                 210.00/hr
                  motions and figure needed. Call with Josh and follow up with email
                  details on claims revisions.

11/28/2018 KW     Investor Relations                                                              0.70       56.00
                  Phone calls and returned emails of claimants answering detailed                80.00/hr
                  update questions.


           SUBTOTAL:                                                                      [       4.20      622.00]




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                           Page       2

                                                                                Hrs/Rate         Amount

            Project Management

 11/26/2018 DC    Project Management                                                0.10             16.00
                  Received email from counsel re distribution; responded.         160.00/hr


            SUBTOTAL:                                                       [       0.10             16.00]

            For professional services rendered                                      4.30        $638.00


            Balance due                                                                         $638.00




                                                                                Exhibit A - Page 23
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                          Hrs/Rate      Amount

           Accounting & Reporting

 12/4/2018 MRF Accounting & Reporting                                                         0.80       72.00
               Reviewed vendor invoices and processed accounts payable. Met with             90.00/hr
               Thomas Seaman for approval and gave instructions to Bonnie Carver
               re sending payments. Conferred with broker re treasury investments
               on matured accounts and discussed cash needs with Receiver.

12/21/2018 MRF Accounting & Reporting                                                         0.30       27.00
               Deposited payment received and updated accounting.                            90.00/hr

12/27/2018 MRF Accounting & Reporting                                                         0.30       27.00
               Reviewed tax notices received from FTB and compared to return.                90.00/hr


           SUBTOTAL:                                                                  [       1.40      126.00]

           Investor Relations

 12/4/2018 AJ     Investor Relations                                                          0.30       63.00
                   Confer with Kim re inquiries from investors, review emails, etc.         210.00/hr

           KW     Investor Relations                                                          2.50      200.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions.

 12/5/2018 KW     Investor Relations                                                          0.40       32.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions.




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                         Page       2

                                                                                              Hrs/Rate         Amount


  12/7/2018 KW    Investor Relations                                                              0.10              8.00
                  Phone calls and returned emails of claimants answering detailed                80.00/hr
                  update questions.

            AJ    Investor Relations                                                              0.10             21.00
                  Review email from investor and consider.                                      210.00/hr

 12/19/2018 KW    Investor Relations                                                              0.30             24.00
                  Phone calls and returned emails of claimants answering detailed                80.00/hr
                  update questions.

 12/26/2018 AJ    Investor Relations                                                              0.10             21.00
                  Review email from Josh with status update.                                    210.00/hr

 12/28/2018 KW    Investor Relations                                                              0.30             24.00
                  Phone calls and returned emails of claimants answering detailed                80.00/hr
                  update questions.


            SUBTOTAL:                                                                     [       4.10         393.00]

            Project Management

  12/4/2018 AJ    Project Management                                                              0.20             42.00
                  Review email from Josh re fee applications and distribution motion,           210.00/hr
                  confer with Tom re same. Send order to Matt.


            SUBTOTAL:                                                                     [       0.20             42.00]

            Receiver

  12/4/2018 TAS   Receiver                                                                        0.60         162.00
                  Review Total Wealth invoice from Crowe, note billing issues, and send         270.00/hr
                  email re objections to same.

            TAS   Receiver                                                                        0.30             81.00
                  Treasury management direct re T-bill sale, liquidity.                         270.00/hr


            SUBTOTAL:                                                                     [       0.90         243.00]

            For professional services rendered                                                    6.60        $804.00


            Balance due                                                                                       $804.00




                                                                                              Exhibit A - Page 25
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                 Hrs/Rate      Amount

           Accounting & Reporting

 1/15/2019 MRF Accounting & Reporting                                                0.20       18.00
               Call with broker re cash available to invest in treasuries.          90.00/hr

 1/17/2019 MRF Accounting & Reporting                                                0.70       63.00
               Preliminary discussion with CPA re 2018 return and documents         90.00/hr
               needed. Reviewed file.

 1/21/2019 MRF Accounting & Reporting                                                0.40       36.00
               Follow up call with CPA re 2018 tax items for upcoming return        90.00/hr
               preparation.

 1/23/2019 AJ     Accounting & Reporting                                             0.10       21.00
                  Received direction from Tom re reports needed.                   210.00/hr

           AJ     Accounting & Reporting                                             0.30       63.00
                  Reconcile bank accounts, run and save reports requested.         210.00/hr

 1/25/2019 MRF Accounting & Reporting                                                0.50       45.00
               Updated accounting with year-end interest income. Ran 12/31/18       90.00/hr
               financial statements and provided to Receiver.

           MRF Accounting & Reporting                                                0.70       63.00
               Reviewed vendor 1099 info and requested missing W9s. Input           90.00/hr
               information to accounting and printed the 2018 1096/1099s. Gave
               instructions to Bonnie Carver re mailing same.

 1/29/2019 MRF Accounting & Reporting                                                1.40      126.00
               Gathered 2018 financial statements and forwarded to CPA with         90.00/hr
               various info re fund receipts.




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                          Page       2

                                                                                               Hrs/Rate         Amount



            SUBTOTAL:                                                                      [       4.30         435.00]

            Investor Relations

  1/15/2019 KW    Investor Relations                                                               0.30             24.00
                  Phone calls and returned emails of claimants answering detailed                 80.00/hr
                  update questions.

  1/28/2019 AJ    Investor Relations                                                               1.30         273.00
                  Confer with Tom re finalizing the case, review final costs and                 210.00/hr
                  expenses for reserve. Confer with Kim re final claims and revisions.
                  Work on finalizing all.

            KW    Investor Relations                                                               2.10         168.00
                  Correcting investor information on excel for exhibits.                          80.00/hr


            SUBTOTAL:                                                                      [       3.70         465.00]

            Project Management

  1/23/2019 AJ    Project Management                                                               0.20             42.00
                  Call with Tom re Total Wealth closing case, distribution plan, etc.            210.00/hr

  1/30/2019 TM    Project Management                                                               2.00         330.00
                  Downloaded PACER documents.                                                    165.00/hr


            SUBTOTAL:                                                                      [       2.20         372.00]

            Receiver

  1/17/2019 TAS   Receiver                                                                         0.30             81.00
                  Confer with Matt and calls with Mark at Wells re treasury management           270.00/hr
                  and maturing securities.

  1/21/2019 TAS   Receiver                                                                         0.30             81.00
                  Confer with Matt re Crowe Horwath bill.                                        270.00/hr

  1/23/2019 TAS   Receiver                                                                         0.50         135.00
                  Telephone call with Josh re closing process, revise same. Telephone            270.00/hr
                  call with Crowe Howarth re same.

            TAS   Receiver                                                                         0.50         135.00
                  Review Crowe Horwath draft bill, note unacceptable entries,                    270.00/hr
                  summarize same, Telephone call with Chad Coombs re same.

  1/28/2019 TAS   Receiver                                                                         1.90         513.00
                  Work on distribution motion and report, calculate reserves, calls with         270.00/hr
                  Josh re same.




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       3

                                                                                            Hrs/Rate         Amount


  1/28/2019 TAS   Receiver                                                                      1.10         297.00
                  Consider cash balance and reserve needs. Telephone call with Josh           270.00/hr
                  re same, review and analyze Crowe bill. Telephone call with Chad re
                  areas requiring review, calculate preliminary reserves.


            SUBTOTAL:                                                                   [       4.60        1,242.00]

            Receivership Administration

  1/31/2019 BC    Receivership Administration                                                   0.30             18.00
                  Prepared mailing of 1099 forms.                                              60.00/hr


            SUBTOTAL:                                                                   [       0.30             18.00]

            For professional services rendered                                                 15.10       $2,532.00


            Balance due                                                                                    $2,532.00




                                                                                            Exhibit A - Page 28
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                 Hrs/Rate       Amount

           Accounting & Reporting

 1/28/2019 TM     Accounting & Reporting                            1.00    NO CHARGE
                  Project for Tom re fee app upcoming.            165.00/hr


           SUBTOTAL:                                         [      1.00          0.00]

           For professional services rendered                       1.00         $0.00


           Balance due                                                           $0.00




                                                                  Exhibit A - Page 29
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                              Hrs/Rate      Amount

           Accounting & Reporting

  2/1/2019 MRF Accounting & Reporting                                                             0.40       36.00
               Responded to email from CPA re 2018 financial statements.                         90.00/hr

  2/4/2019 AJ     Accounting & Reporting                                                          0.30       63.00
                  Reconcile the bank accounts and provide info to Tom as requested.             210.00/hr

 2/26/2019 MRF Accounting & Reporting                                                             0.60       54.00
               Reviewed emails from CPA re 2018 tax return progress. Forwarded                   90.00/hr
               information requested and saved files received on server.


           SUBTOTAL:                                                                      [       1.30      153.00]

           Investor Relations

  2/4/2019 KW     Investor Relations                                                              0.50       40.00
                  Phone calls and returned emails of claimants answering detailed                80.00/hr
                  update questions.

           AJ     Investor Relations                                                              2.20      462.00
                  Work on final claims report and exhibits, etc. Call with Tom and Josh         210.00/hr
                  re details re same. Email complete exhibit to all.

  2/5/2019 AJ     Investor Relations                                                              0.20       42.00
                  Confer with Kim recent investor communications and provide                    210.00/hr
                  instruction on responses.




                                                                                              Exhibit A - Page 30
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                         Page       2

                                                                                              Hrs/Rate         Amount

  2/11/2019 TM    Investor Relations                                                              1.20         198.00
                  Call from Tom re items to post on Total Wealth website. Email from            165.00/hr
                  attorneys with items. Prepared items for posting and posted. Sent
                  emails to subscribers in two separate posts. Email to group re same.

            AJ    Investor Relations                                                              0.50         105.00
                  Review email from Allen Matkins with filed docs. Review emails from           210.00/hr
                  investors in response to distribution notices sent out. Confer with Kim
                  re responses to same.

            KW    Investor Relations                                                              0.60             48.00
                  Phone call with Peter Chirico.                                                 80.00/hr

  2/12/2019 KW    Investor Relations                                                              0.40             32.00
                  Phone calls and returned emails of claimants answering detailed                80.00/hr
                  update questions.

            AJ    Investor Relations                                                              0.60         126.00
                  Confer with Kim re investors questions. Search for info on criminal           210.00/hr
                  case outcome. Review and discuss case status with Tom. Email Tom
                  link to story on restitution.

  2/13/2019 AJ    Investor Relations                                                              0.30             63.00
                  Review investor messages and correspondence.                                  210.00/hr

  2/19/2019 KW    Investor Relations                                                              0.20             16.00
                  Phone calls and returned emails of claimants answering detailed                80.00/hr
                  update questions.

            AJ    Investor Relations                                                              0.60         126.00
                  Review multiple emails from Tom and Josh related to Cooper                    210.00/hr
                  settlement and the investors that are receiving restitution. Confer with
                  Kim re same.

  2/20/2019 KW    Investor Relations                                                              1.00             80.00
                  Phone calls and returned emails of claimants answering detailed                80.00/hr
                  update questions (.4). Investigated those who received money from
                  Cooper (.6)

            AJ    Investor Relations                                                              0.70         147.00
                  Emails with Allen Matkins re distribution revisions. Confer with Kim re       210.00/hr
                  investor responses. Review list of restitution victims, give direction to
                  Kim re same.

  2/21/2019 KW    Investor Relations                                                              0.70             56.00
                  Phone calls and returned emails of claimants answering detailed                80.00/hr
                  update questions.

            AJ    Investor Relations                                                              2.30         483.00
                  Review motion from Josh re distribution amendment. Work on revising           210.00/hr
                  the distribution amounts excluding the restitution recipients. Confer




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                         Page       3

                                                                                              Hrs/Rate         Amount

                  with Tom re same. Revise again and prepare for Tom's final review.

  2/22/2019 AJ    Investor Relations                                                              0.50         105.00
                  Confer with Tom re final revised distribution numbers and receive             210.00/hr
                  approval. Finalize reports and email to Josh for filing.

  2/25/2019 AJ    Investor Relations                                                              0.30             63.00
                  Review email from Josh re TWM filing, call with Tom re same. Print            210.00/hr
                  docs for Tom to review.

  2/26/2019 AJ    Investor Relations                                                              0.20             42.00
                  Review email from Josh with proposed motion to revise distribution.           210.00/hr
                  Review docs and confer with Tom re same.


            SUBTOTAL:                                                                     [      13.00        2,234.00]

            Project Management

   2/4/2019 AJ    Project Management                                                              0.30             63.00
                  Review distribution motion emails from Josh and confer with Tom re            210.00/hr
                  same.

   2/7/2019 TM    Project Management                                                              0.10             16.50
                  Email from Tom re final report. Read through, minor changes. Saved.           165.00/hr

            AJ    Project Management                                                              0.30             63.00
                  Review email from Josh re filing. Confer with Tom re same.                    210.00/hr

  2/24/2019 DC    Project Management                                                              0.80         128.00
                  Came to office to inventory stored files and data for inventory               160.00/hr
                  purposes prior to move to storage.


            SUBTOTAL:                                                                     [       1.50         270.50]

            Receiver

   2/4/2019 TAS   Receiver                                                                        3.30         891.00
                  Review draft report and motion to make distribution, update                   270.00/hr
                  accounting through 1/31, calculate reserve requirements, calls and
                  emails with counsel and Crowe re same, calculate distribution, confer
                  re additional bona fide claim, subordination of non-investor claims,
                  revise narrative in motion, prepare narrative report, prepare SFAR,
                  prepare exhibit, forward red line to counsel, calls re same.

  2/14/2019 TAS   Receiver                                                                        0.40         108.00
                  Email prosecutor Zipp re questions re purported restitution payments          270.00/hr
                  by defendant Cooper.

  2/21/2019 TAS   Receiver                                                                        0.50         135.00
                  Confer with Alison re reducing distributions of claimants receiving           270.00/hr
                  restitution, direct re methodology and keeping those claimants




                                                                                              Exhibit A - Page 32
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       4

                                                                                             Hrs/Rate         Amount

                  payments static and re pro rating balance over unaffected investors.

  2/22/2019 TAS   Receiver                                                                       0.60         162.00
                  Review draft calculations re apportionment of distribution check             270.00/hr
                  numbers and test, approve.

  2/26/2019 TAS   Receiver                                                                       0.30             81.00
                  Review and approve declaration re claims adjustments re restitution          270.00/hr
                  payment if made.


            SUBTOTAL:                                                                    [       5.10        1,377.00]

            Receivership Administration

  2/14/2019 AJ    Receivership Administration                                                    0.30             63.00
                  Work on organizing records, documents and files. Direction to Bonnie         210.00/hr
                  re same.


            SUBTOTAL:                                                                    [       0.30             63.00]

            For professional services rendered                                                  21.20       $4,097.50


            Balance due                                                                                     $4,097.50




                                                                                             Exhibit A - Page 33
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                       Hrs/Rate      Amount

           Accounting & Reporting

 3/15/2019 MRF Accounting & Reporting                                                      0.40       36.00
               Reviewed vendor invoices and processed accounts payable. Met with          90.00/hr
               Thomas Seaman for approval of payments and gave instructions to
               Bonnie Carver re mailing checks. Reviewed K-1 received and
               forwarded to CPA.


           SUBTOTAL:                                                               [       0.40       36.00]

           Investor Relations

  3/7/2019 AJ     Investor Relations                                                       0.20       42.00
                  Review Kipperman response and email from / to Josh re same.            210.00/hr

 3/11/2019 KW     Investor Relations                                                       0.60       48.00
                  Phone call with Peter Chirico.                                          80.00/hr

 3/13/2019 AJ     Investor Relations                                                       0.10       21.00
                  Review message from claimant. Forward to Kim for response.             210.00/hr

 3/14/2019 AJ     Investor Relations                                                       0.10       21.00
                  Review correspondence from investors and forward to Kim for            210.00/hr
                  response.




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       2

                                                                                             Hrs/Rate         Amount

  3/15/2019 KW    Investor Relations                                                             0.70             56.00
                  Phone call with Peter Chirico.                                                80.00/hr

  3/18/2019 KW    Investor Relations                                                             1.40         112.00
                  Phone call with Peter Chirico. Discussing case with Alison Juroe.             80.00/hr
                  Saving documents from PACER.

  3/19/2019 KW    Investor Relations                                                             0.60             48.00
                  Returning phone calls from investors.                                         80.00/hr

            TM    Investor Relations                                                             1.20         198.00
                  Email from Diaz with items to post to website. Prepared for posting.         165.00/hr
                  Email to Diaz re date of hearing question.

  3/20/2019 KW    Investor Relations                                                             0.20             16.00
                  Returning phone calls from investors.                                         80.00/hr

  3/21/2019 KW    Investor Relations                                                             0.50             40.00
                  Phone call with Peter Chirico.                                                80.00/hr

  3/25/2019 AJ    Investor Relations                                                             0.10             21.00
                  Confer with Kim re investor calls and appropriate responses.                 210.00/hr


            SUBTOTAL:                                                                    [       5.70         623.00]

            Project Management

   3/8/2019 AJ    Project Management                                                             0.10             21.00
                  Confer with Tom re hearing date on distribution.                             210.00/hr

  3/11/2019 DC    Project Management                                                             1.00         160.00
                  Reviewed boxed files and discovery boxes to confirm all for Total            160.00/hr
                  Wealth; moved to offsite storage and inventoried.

  3/18/2019 AJ    Project Management                                                             0.20             42.00
                  Confer with Kim re distribution hearing, direct re PACER docs.               210.00/hr

            AJ    Project Management                                                             0.10             21.00
                  Confer with Tom re hearing.                                                  210.00/hr

            AJ    Project Management                                                             0.20             42.00
                  Call with Tom re TWM, hearing taken off calendar, etc.                       210.00/hr


            SUBTOTAL:                                                                    [       1.60         286.00]

            Receiver

  3/20/2019 TAS   Receiver                                                                       0.30             81.00
                  Review PPCM settlement document changes, leave voice mail for                270.00/hr
                  Frank Scollan re same.




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                                                                   Hrs/Rate         Amount



            SUBTOTAL:                                          [       0.30             81.00]

            Receivership Administration

  3/15/2019 BC    Receivership Administration                          0.20             12.00
                  Prepared checks for mailing to creditors.           60.00/hr


            SUBTOTAL:                                          [       0.20             12.00]

            For professional services rendered                         8.20       $1,038.00


            Balance due                                                           $1,038.00




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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                             Hrs/Rate      Amount

           Accounting & Reporting

 4/11/2019 MRF Accounting & Reporting                                                            0.60       54.00
               Call with treasuries broker re funds transfer needed. Received                   90.00/hr
               instructions from Alison Juroe re checks needed for upcoming
               distribution to investors.


           SUBTOTAL:                                                                     [       0.60       54.00]

           Investor Relations

  4/3/2019 AJ     Investor Relations                                                             0.10       21.00
                  Review and forward investor email to Kim for response.                       210.00/hr

  4/8/2019 AJ     Investor Relations                                                             0.20       42.00
                  Review emails and correspondence from investors checking on status           210.00/hr
                  of distribution; forward to Kim for response.

  4/9/2019 KW     Investor Relations                                                             3.90      312.00
                  Returning phone calls and emails from investors regarding the latest          80.00/hr
                  decision released on 4/8.

 4/10/2019 KW     Investor Relations                                                             2.10      168.00
                  Returning phone calls and emails from investors regarding the latest          80.00/hr
                  decision released on 4/8.

           AJ     Investor Relations                                                             0.20       42.00
                  Review emails from investors and forward to Kim for response. Call           210.00/hr
                  with Kim re same.




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       2

                                                                                             Hrs/Rate         Amount


  4/11/2019 KW    Investor Relations                                                             1.30         104.00
                  Returning phone calls and emails from investors regarding the latest          80.00/hr
                  decision released on 4/8.

            AJ    Investor Relations                                                             0.20             42.00
                  Confer with Matt re Total distribution, cash on hand, check stock, etc.      210.00/hr

  4/12/2019 KW    Investor Relations                                                             0.70             56.00
                  Returning phone calls and emails from investors regarding the latest          80.00/hr
                  decision released on 4/8.

            AJ    Investor Relations                                                             0.30             63.00
                  Review distribution list, order, and research notice given to claimants.     210.00/hr

  4/15/2019 KW    Investor Relations                                                             0.30             24.00
                  Returning phone calls and emails from investors regarding the latest          80.00/hr
                  decision released on 4/8.

  4/16/2019 KW    Investor Relations                                                             0.40             32.00
                  Returning phone calls and emails from investors regarding the latest          80.00/hr
                  decision released on 4/8.

            AJ    Investor Relations                                                             0.30             63.00
                  Work on distribution worksheet. Confer with Kim re same.                     210.00/hr

  4/17/2019 KW    Investor Relations                                                             8.10         648.00
                  Returning phone calls and emails from investors regarding the latest          80.00/hr
                  decision released on 4/8. Worked on investor address spreadsheet
                  and preparing for distribution.

  4/18/2019 KW    Investor Relations                                                             2.10         168.00
                  Returning phone calls and emails from investors regarding the latest          80.00/hr
                  decision released on 4/8. Worked on investor address spreadsheet
                  and preparing for distribution.

            AJ    Investor Relations                                                             0.60         126.00
                  Work on getting ready for distribution, work on worksheet for upload.        210.00/hr
                  Confer with Kim re addresses, splits, etc.

  4/19/2019 KW    Investor Relations                                                             3.80         304.00
                  Returning phone calls and emails from investors regarding the latest          80.00/hr
                  decision released on 4/8. Worked on investor address spreadsheet
                  and preparing for distribution.

            AJ    Investor Relations                                                             0.10             21.00
                  Work on vendors. Direction to Bonnie, and confer with Matt re same.          210.00/hr

  4/22/2019 KW    Investor Relations                                                             1.90         152.00
                  Worked on investor address spreadsheet and preparing for                      80.00/hr
                  distribution. Contacting investors that had missing information needed
                  for distribution. Returning phone calls and emails from investors




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                      Page       3

                                                                                           Hrs/Rate         Amount

                  regarding the latest decision released on 4/8.

  4/23/2019 AJ    Investor Relations                                                           0.70         147.00
                  Continue to work on getting the claims data ready to import into           210.00/hr
                  Quickbooks.

  4/24/2019 KW    Investor Relations                                                           1.20             96.00
                  Worked on investor address spreadsheet and preparing for                    80.00/hr
                  distribution. Contacting investors that had missing information needed
                  for distribution. Returning phone calls and emails from investors
                  regarding the latest decision released on 4/8.

            AJ    Investor Relations                                                           2.40         504.00
                  Upload distribution data into Quickbooks. Work on corrections and          210.00/hr
                  formatting issues. Give direction to Bonnie re same.

  4/25/2019 BC    Investor Relations                                                           6.40         384.00
                  Entered bills for distribution.                                             60.00/hr

            KW    Investor Relations                                                           0.90             72.00
                  Worked on investor address spreadsheet and preparing for                    80.00/hr
                  distribution. Contacting investors that had missing information needed
                  for distribution. Returning phone calls and emails from investors
                  regarding the latest decision released on 4/8.

            AJ    Investor Relations                                                           1.30         273.00
                  Continue to work on cleaning up addresses and distribution amounts         210.00/hr
                  in Quickbooks. Direct Bonnie re same.

  4/26/2019 MRF Investor Relations                                                             1.80         162.00
                Received instructions from Alison Juroe and processed the investor            90.00/hr
                distribution checks. Scanned signed checks.

            AJ    Investor Relations                                                           0.50         105.00
                  Confer with Matt re distribution checks ready to be printed, discuss       210.00/hr
                  letter, check stock, staffing for mailing, etc.

  4/29/2019 BC    Investor Relations                                                           5.50         330.00
                  Prepared and mailed distribution checks to claimants.                       60.00/hr

            KW    Investor Relations                                                           9.60         768.00
                  Prepped checks, labels, and letters for distribution check mailing.         80.00/hr
                  Received phone calls from investors.

            AJ    Investor Relations                                                           1.70         357.00
                  Confer with Tom re distribution checks, letter, etc. Revise letter and     210.00/hr
                  print labels, etc.. Provide direction to Kim and Bonnie re mailing.
                  Email motion to Tim for posting to website.

  4/30/2019 AJ    Investor Relations                                                           0.20             42.00
                  Review and respond to email from claimant re timing on checks, and         210.00/hr
                  title change, etc.




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       4

                                                                                             Hrs/Rate         Amount


  4/30/2019 KW    Investor Relations                                                             0.80             64.00
                  Phone calls and emails from investors.                                        80.00/hr

            TM    Investor Relations                                                             1.20         198.00
                  Email from Alison re distribution order and need to post to website.         165.00/hr
                  Posted item to website and sent emails.


            SUBTOTAL:                                                                    [      60.80        5,890.00]

            Project Management

   4/8/2019 AJ    Project Management                                                             0.30             63.00
                  Review email from Josh re motion was approved, review and respond            210.00/hr
                  to same.


            SUBTOTAL:                                                                    [       0.30             63.00]

            Receiver

   4/9/2019 TAS   Receiver                                                                       0.60         162.00
                  Receiver numerous voice mails and multiple calls from investor not           270.00/hr
                  happy with offset for Cooper's restitution debt, call her re same.

  4/29/2019 TAS   Receiver                                                                       0.30             81.00
                  Prepare cover letter for distribution check.                                 270.00/hr


            SUBTOTAL:                                                                    [       0.90         243.00]

            For professional services rendered                                                  62.60       $6,250.00


            Balance due                                                                                     $6,250.00




                                                                                             Exhibit A - Page 40
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                                Hrs/Rate      Amount

           Accounting & Reporting

  5/7/2019 MRF Accounting & Reporting                                                               0.80       72.00
               Received instructions from Alison Juroe and re-issued checks that                   90.00/hr
               were previously stop-paid. Issued new stop payment per instructions
               and exchanged emails with CPA re tax reporting of distribution
               payments.

 5/24/2019 MRF Accounting & Reporting                                                               0.30       27.00
               Forwarded K-1s received for 2018 and sent per request from CPA.                     90.00/hr


           SUBTOTAL:                                                                        [       1.10       99.00]

           Investor Relations

  5/1/2019 KW     Investor Relations                                                                1.20       96.00
                  Phone calls and emails from investors.                                           80.00/hr

           TM     Investor Relations                                                                0.20       33.00
                  Saved new document in PACER.                                                    165.00/hr

  5/2/2019 AJ     Investor Relations                                                                0.40       84.00
                  Calls and emails with investors re questions about distribution. Confer         210.00/hr
                  with Tom and Kim re same. Email to Josh re investor inquiry for him to
                  resolve, review response re same.




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       2

                                                                                             Hrs/Rate         Amount

   5/2/2019 KW     Investor Relations                                                            0.70             56.00
                   Phone calls and emails from investors.                                       80.00/hr

   5/3/2019 AJ     Investor Relations                                                            0.80         168.00
                   Calls and emails with investors re reissue requests and other inquires.     210.00/hr
                   Confer with Bonnie and Kim re calls.

            KW     Investor Relations                                                            1.30         104.00
                   Phone calls and emails from investors.                                       80.00/hr

   5/6/2019 MRF Investor Relations                                                               0.40             36.00
                Received instructions from Alison Juroe re distribution check re-issues         90.00/hr
                and stop payments. Logged into banking system and issued stop
                payments.

            KW     Investor Relations                                                            0.30             24.00
                   Phone calls and emails from investors.                                       80.00/hr

            AJ     Investor Relations                                                            0.70         147.00
                   Emails and calls with claimants re reissues, check problems, etc.           210.00/hr

   5/7/2019 KW     Investor Relations                                                            2.10         168.00
                   Phone calls and emails from investors. Updating addresses and                80.00/hr
                   re-mailing checks.

            AJ     Investor Relations                                                            1.40         294.00
                   Emails and calls with claimants re distribution checks, taxes, etc.         210.00/hr
                   Reissue checks.

   5/8/2019 MRF Investor Relations                                                               0.30             27.00
                Verified stop paid checks had not gone through. Mailed re-issued                90.00/hr
                payment after verification.

            AJ     Investor Relations                                                            1.60         336.00
                   Calls and emails with claimants re distribution checks, reissue             210.00/hr
                   requests, etc. Confer with Tom re calls with IRA Custodians.

   5/9/2019 KW     Investor Relations                                                            1.70         136.00
                   Phone calls and emails from investors. Updating addresses and                80.00/hr
                   re-mailing checks.

            AJ     Investor Relations                                                            0.70         147.00
                   Call with custodian, calls and emails with claimants re distribution        210.00/hr
                   check reissues, etc. Confer with Kim re same. Reissue checks.

  5/10/2019 KW     Investor Relations                                                            0.60             48.00
                   Phone calls and emails from investors.                                       80.00/hr




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       3

                                                                                            Hrs/Rate         Amount

  5/10/2019 AJ    Investor Relations                                                            0.80         168.00
                  Print and mail reissued checks. Calls with claimants re same.               210.00/hr

  5/13/2019 KW    Investor Relations                                                            0.20             16.00
                  Phone calls and emails from investors.                                       80.00/hr

  5/14/2019 KW    Investor Relations                                                            0.70             56.00
                  Phone calls and emails from investors.                                       80.00/hr

            AJ    Investor Relations                                                            0.30             63.00
                  Review emails from claimants re distribution questions, reissues,           210.00/hr
                  taxes, etc.

  5/15/2019 AJ    Investor Relations                                                            1.30         273.00
                  Emails and calls with claimants re distribution. Process check              210.00/hr
                  reissues, record notes in Quickbooks, etc.

  5/16/2019 AJ    Investor Relations                                                            0.80         168.00
                  Review and respond to emails from investors requesting reissued             210.00/hr
                  checks. Look up info for IRA custodian re check split between Trad.
                  and ROTH. Confer with Kim re same. Confer with Tom re investor
                  questions about distributions if they did not file a claim. Confer with
                  Bonnie re response to same. Review and edit.

            KW    Investor Relations                                                            0.40             32.00
                  Calculating investor IRA and Roth split.                                     80.00/hr

  5/20/2019 KW    Investor Relations                                                            0.50             40.00
                  Phone calls and emails from investors.                                       80.00/hr

            AJ    Investor Relations                                                            0.20             42.00
                  Emails and calls re distribution checks to be reissued.                     210.00/hr

  5/21/2019 AJ    Investor Relations                                                            0.30             63.00
                  Review emails from investors, and checks returned for reissue.              210.00/hr
                  Confer with Kim re investor communications, and answer questions.

            KW    Investor Relations                                                            0.60             48.00
                  Phone calls and emails from investors.                                       80.00/hr

  5/22/2019 AJ    Investor Relations                                                            0.60         126.00
                  Review checks received for reissue. Respond to investor questions,          210.00/hr
                  and emails from IRA custodians.

            KW    Investor Relations                                                            0.60             48.00
                  Phone calls and emails from investors.                                       80.00/hr

  5/23/2019 AJ    Investor Relations                                                            0.30             63.00
                  Calls and emails with investors and IRA custodian re distribution           210.00/hr
                  checks.




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                            Page       4

                                                                                                 Hrs/Rate         Amount

  5/23/2019 KW    Investor Relations                                                                 0.70             56.00
                  Phone calls and emails from investors.                                            80.00/hr

  5/24/2019 AJ    Investor Relations                                                                 1.30         273.00
                  Emails with investors re distribution checks. Work on Voiding and                210.00/hr
                  reissuing checks. Make notes in Quickbooks, etc. Follow up with
                  Bonnie on investor that is inquiring about notice of claims process.
                  Review response from investor re same.

  5/26/2019 AJ    Investor Relations                                                                 0.40             84.00
                  Calls and emails with investors and IRA custodians related to                    210.00/hr
                  distribution checks.

  5/29/2019 AJ    Investor Relations                                                                 0.40             84.00
                  Emails and calls with claimants re reissues, etc.                                210.00/hr

  5/30/2019 AJ    Investor Relations                                                                 0.40             84.00
                  Reissue and mail checks.                                                         210.00/hr

  5/31/2019 AJ    Investor Relations                                                                 0.20             42.00
                  Review email from investor that did not get a claim form. Confer with            210.00/hr
                  Bonnie re response to same.

            KW    Investor Relations                                                                 0.20             16.00
                  Phone calls and emails from investors.                                            80.00/hr


            SUBTOTAL:                                                                        [      25.60        3,749.00]

            Project Management

  5/28/2019 DC    Project Management                                                                 0.30             48.00
                  Received email from Tom re PPCN settlement with instructions.                    160.00/hr
                  Carried out directive of email and informed counsel.

  5/29/2019 DC    Project Management                                                                 0.30             48.00
                  Received, printed and reviewed settlement agreement from counsel.                160.00/hr
                  Met with receiver, obtained signature, scanned and sent back to
                  counsel.


            SUBTOTAL:                                                                        [       0.60             96.00]

            Receivership Administration

  5/16/2019 AJ    Receivership Administration                                                        0.80         168.00
                  Process payroll. Confer with staff re hours, etc. Save and print payroll         210.00/hr
                  register, and 401k listing. Confer with Tom re funding amount needed.


            SUBTOTAL:                                                                        [       0.80         168.00]




                                                                                                 Exhibit A - Page 44
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                         Page       5

                                                                    Hours      Amount
            For professional services rendered                      28.10    $4,112.00


            Balance due                                                      $4,112.00




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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                           Hrs/Rate      Amount

           Accounting & Reporting

 6/11/2019 AJ     Accounting & Reporting                                                       0.40       84.00
                  Reconcile bank account, multiple months.                                   210.00/hr

           MRF Accounting & Reporting                                                          0.40       36.00
               Reviewed trial balance and spoke with CPA re finalizing returns.               90.00/hr

 6/12/2019 MRF Accounting & Reporting                                                          0.40       36.00
               Re-issued distribution checks and saved copies.                                90.00/hr

 6/18/2019 MRF Accounting & Reporting                                                          0.70       63.00
               Received info and instructions from Alison Juroe re check fraud on             90.00/hr
               investor distribution check. Exported check register and sent to Wells
               Fargo so remaining investor distribution checks can clear.

           AJ     Accounting & Reporting                                                       0.10       21.00
                  Review emails from Wells Fargo related to fraud check.                     210.00/hr

 6/19/2019 MRF Accounting & Reporting                                                          0.60       54.00
               Reviewed follow up email from banker re check fraud and pulled                 90.00/hr
               check image for Alison Juroe. Processed payment for Notary re
               check fraud affidavit. Faxed form to Wells Fargo to approve newly
               issued checks.

           AJ     Accounting & Reporting                                                       1.60      336.00
                  Review emails from Wells Fargo related to filing a fraud claim. Confer     210.00/hr
                  with Matt re same. Completed the documents and discussed with
                  Tom. Once signed and notarized, provided to Bonnie to send via




                                                                                           Exhibit A - Page 46
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                          Page       2

                                                                                               Hrs/Rate         Amount

                   certified mail service.

  6/20/2019 AJ     Accounting & Reporting                                                          0.90         189.00
                   Review, download and print checks copies in batches from Wells                210.00/hr
                   Fargo.

  6/24/2019 AJ     Accounting & Reporting                                                          1.30         273.00
                   Work on reconciliation of distribution checks.                                210.00/hr

  6/26/2019 AJ     Accounting & Reporting                                                          1.20         252.00
                   Work on reconciling the list from Millennium with the checks issued.          210.00/hr

  6/27/2019 MRF Accounting & Reporting                                                             0.30             27.00
                Call with CPA re receipt of 2018 tax return.                                      90.00/hr

  6/28/2019 MRF Accounting & Reporting                                                             0.20             18.00
                Completed form and faxed to bank so re-issued checks will clear.                  90.00/hr


            SUBTOTAL:                                                                      [       8.10        1,389.00]

            Investor Relations

   6/3/2019 AJ     Investor Relations                                                              0.20             42.00
                   Review and respond to emails from claimants with checks to be                 210.00/hr
                   reissued.

   6/5/2019 AJ     Investor Relations                                                              0.80         168.00
                   Review and respond to emails regarding check issues. Void, reissue            210.00/hr
                   and mail checks.

   6/6/2019 AJ     Investor Relations                                                              0.30             63.00
                   Review voicemail and emails from investors. Respond to email from             210.00/hr
                   IRA custodian related to distribution checks.

  6/10/2019 KW     Investor Relations                                                              0.30             24.00
                   Mailed instructions for investor having difficulty with checks.                80.00/hr

  6/12/2019 AJ     Investor Relations                                                              0.10             21.00
                   Review email from Matthew re stop payment and reissue processed               210.00/hr
                   for Patti A.

  6/17/2019 AJ     Investor Relations                                                              2.50         525.00
                   Review email from investor and research checks. Find that one of the          210.00/hr
                   checks he did not receive cleared. Contact Wells Fargo and alert
                   them to the fraudulent check. Calls with Wells Fargo and the investor
                   re next steps. Discuss protected payment method for remaining
                   checks outstanding. Will provide a check register. Issue stop
                   payments on two checks lost in mail.

  6/24/2019 AJ     Investor Relations                                                              0.20             42.00
                   Review email from Millennium Trust related to distribution checks not         210.00/hr
                   received. Print report.




                                                                                               Exhibit A - Page 47
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                            Page       3

                                                                                                 Hrs/Rate         Amount


  6/25/2019 AJ    Investor Relations                                                                 0.20             42.00
                  Reviewed and responded to voice mail messages. Calls and emails                  210.00/hr
                  sent re distribution checks. Made notes in QuickBooks re same.

  6/26/2019 AJ    Investor Relations                                                                 0.40             84.00
                  Calls and emails with custodian re checks split as well as with investor         210.00/hr
                  dissatisfied with the amount of distribution check.

  6/27/2019 AJ    Investor Relations                                                                 0.30             63.00
                  Reissue and mail check to claimant. Calls and emails with investors.             210.00/hr


            SUBTOTAL:                                                                        [       5.30        1,074.00]

            Project Management

  6/19/2019 TM    Project Management                                                                 0.20             33.00
                  Request from Alison re getting a notary, scheduled notary. Met with              165.00/hr
                  notary. Call to Tom re appointment.

            AJ    Project Management                                                                 0.10             21.00
                  Request Tim set up a notary for WF Affidavit.                                    210.00/hr


            SUBTOTAL:                                                                        [       0.30             54.00]

            Receiver

   6/6/2019 TAS   Receiver                                                                           0.20             54.00
                  Direct Matt re Treasury management.                                              270.00/hr


            SUBTOTAL:                                                                        [       0.20             54.00]

            Receivership Administration

  6/19/2019 BC    Receivership Administration                                                        0.50             30.00
                  Prepared certified mail and drove to post office.                                 60.00/hr


            SUBTOTAL:                                                                        [       0.50             30.00]

            For professional services rendered                                                      14.40       $2,601.00


            Balance due                                                                                         $2,601.00




                                                                                                 Exhibit A - Page 48
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                                Hrs/Rate      Amount

           Accounting & Reporting

  7/2/2019 MRF Accounting & Reporting                                                               0.30       27.00
               Met with Receiver re closing tax return and cost estimate from CPA                  90.00/hr
               firm.

  7/3/2019 MRF Accounting & Reporting                                                               0.50       45.00
               Call with CPA to address 2018 accounting questions and status                       90.00/hr
               update on the tax returns.

           AJ     Accounting & Reporting                                                            0.30       63.00
                  Reconcile bank account.                                                         210.00/hr

 7/12/2019 MRF Accounting & Reporting                                                               0.30       27.00
               Forwarded documents from CPA to counsel re estimated closing of                     90.00/hr
               case.

 7/17/2019 MRF Accounting & Reporting                                                               0.40       36.00
               Reissued investor distribution check and issued stop pay and lost                   90.00/hr
               check.

 7/31/2019 AJ     Accounting & Reporting                                                            1.50      315.00
                  Confer with Tom re order from the court on report due on distributions.         210.00/hr
                  Discuss previous reply to Josh. Reconcile bank for July. Run reports
                  for outstanding checks, etc. Analyze data. Direct Bonnie re contacting
                  investors with checks outstanding.


           SUBTOTAL:                                                                        [       3.30      513.00]




                                                                                                Exhibit A - Page 49
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                          Page       2

                                                                                               Hrs/Rate         Amount

            Investor Relations

   7/1/2019 KW    Investor Relations                                                               0.30             24.00
                  Spoke with investor with questions about the distributions.                     80.00/hr

   7/2/2019 AJ    Investor Relations                                                               0.30             63.00
                  Calls with investors re distribution. Mail checks and email re same.           210.00/hr

   7/3/2019 AJ    Investor Relations                                                               0.10             21.00
                  Email investor re distribution.                                                210.00/hr

   7/8/2019 AJ    Investor Relations                                                               0.30             63.00
                  Review calls and emails from claimants. Confer with Bonnie re same.            210.00/hr
                  Call with claimant that is out of country and has not received checks.

            KW    Investor Relations                                                               0.30             24.00
                  Spoke with investor with questions about the distributions.                     80.00/hr

   7/9/2019 AJ    Investor Relations                                                               0.20             42.00
                  Review messages and correspondence from investors. Confer with                 210.00/hr
                  Tom re PPCN investor. Call with investor and explain status of case.

            AJ    Investor Relations                                                               0.70         147.00
                  Review and respond to emails and calls related to distribution checks          210.00/hr
                  needing to be reissued. Process and mail checks.

  7/15/2019 AJ    Investor Relations                                                               0.20             42.00
                  Confer with Bonnie re reissue. Review email from investor re same.             210.00/hr

  7/16/2019 AJ    Investor Relations                                                               0.90         189.00
                  Reissue distribution checks, calls and emails re same. Reconcile and           210.00/hr
                  review outstanding checks, etc.

  7/22/2019 AJ    Investor Relations                                                               0.20             42.00
                  Call with investor re distribution check question.                             210.00/hr

  7/24/2019 TM    Investor Relations                                                               0.10             16.50
                  Sorted emails of case into proper folders for archiving. Highlighted           165.00/hr
                  items requiring work re website.

  7/29/2019 AJ    Investor Relations                                                               0.30             63.00
                  Call with investor re issues with distribution check.                          210.00/hr

  7/31/2019 AJ    Investor Relations                                                               0.70         147.00
                  Review email from Millennium re checks not received for certain                210.00/hr
                  clients. Format report and provide direction to Julia on filling out
                  information for the listed investors.


            SUBTOTAL:                                                                      [       4.60         883.50]




                                                                                               Exhibit A - Page 50
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                         Page       3

                                                                                              Hrs/Rate         Amount

            Project Management

  7/10/2019 DC    Project Management                                                              0.60             96.00
                  Worked with claims processors to optimize emailed files to speed              160.00/hr
                  printing process.

  7/16/2019 AJ    Project Management                                                              0.30             63.00
                  Prepare email to Josh with details and status on distribution, checks         210.00/hr
                  outstanding, etc.

  7/30/2019 AJ    Project Management                                                              0.30             63.00
                  Review PPCN Motion and Dec. Confer with Tom re same.                          210.00/hr


            SUBTOTAL:                                                                     [       1.20         222.00]

            Receivership Administration

  7/17/2019 BC    Receivership Administration                                                     0.10              6.00
                  Prepared checks and mailed to claimant.                                        60.00/hr


            SUBTOTAL:                                                                     [       0.10              6.00]

            For professional services rendered                                                    9.20       $1,624.50


            Balance due                                                                                      $1,624.50




                                                                                              Exhibit A - Page 51
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                   Hrs/Rate       Amount

           Accounting & Reporting

 7/23/2019 MRF Accounting & Reporting                                                 0.30    NO CHARGE
               Reviewed comments re CPA's fee application from legal counsel         90.00/hr
               and forwarded to CPA.


           SUBTOTAL:                                                           [      0.30          0.00]

           For professional services rendered                                         0.30         $0.00


           Balance due                                                                             $0.00




                                                                                    Exhibit A - Page 52
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                               Hrs/Rate      Amount

           Accounting & Reporting

  8/2/2019 MRF Accounting & Reporting                                                              0.40       36.00
               Reviewed vendor invoices and processed accounts payable.                           90.00/hr

  8/5/2019 AJ     Accounting & Reporting                                                           0.80      168.00
                  Follow up with Bonnie on report. Reconcile bank account, etc.                  210.00/hr

 8/16/2019 MRF Accounting & Reporting                                                              0.40       36.00
               Conversation with CPA re wind down of receivership and timeline for                90.00/hr
               filing final tax returns.

 8/21/2019 MRF Accounting & Reporting                                                              1.20      108.00
               Met with Thomas Seaman to review the 2018 QSF tax return and                       90.00/hr
               execute. Gave instructions to Bonnie Carver re mailing same.


           SUBTOTAL:                                                                       [       2.80      348.00]

           Investor Relations

  8/1/2019 AJ     Investor Relations                                                               0.10       21.00
                  Call with investor re distribution check.                                      210.00/hr

           AJ     Investor Relations                                                               0.80      168.00
                  Confer with Bonnie re un-cashed distribution checks and status on              210.00/hr
                  contacting the claimants. Review response and give direction re follow
                  up. Make updates in Quickbooks. Reissue checks, etc.




                                                                                               Exhibit A - Page 53
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                  Page       2

                                                                                       Hrs/Rate         Amount

   8/1/2019 AJ    Investor Relations                                                       0.40             84.00
                  Review messages and correspondence. Give Julia direction on            210.00/hr
                  Millennium Trust checks worksheet. Review finished worksheet.

   8/2/2019 BC    Investor Relations                                                       0.50             30.00
                  Contacted claimant regarding check that hadn't cleared.                 60.00/hr

            AJ    Investor Relations                                                       0.30             63.00
                  Update check status on report, and follow with Bonnie on progress      210.00/hr
                  with contacting claimants

   8/5/2019 BC    Investor Relations                                                       0.30             18.00
                  Contacted claimants regarding check that hadn't cleared.                60.00/hr

            AJ    Investor Relations                                                       0.30             63.00
                  Calls with investors re distribution issues.                           210.00/hr

   8/6/2019 AJ    Investor Relations                                                       0.80         168.00
                  Review info from Bonnie re status on un-cashed checks. Follow up       210.00/hr
                  with Bonnie re same. Update Quickbooks' email to Matt re stop
                  payments and checks to be printed. Update addresses, and void and
                  reissue checks.

            BC    Investor Relations                                                       1.00             60.00
                  Contacted claimants regarding check that hadn't cleared. Updated        60.00/hr
                  addresses in Quickbooks.

            MRF Investor Relations                                                         0.90             81.00
                Received instructions from Alison Juroe and stop-paid/re-issued           90.00/hr
                distribution checks. Saved backup copies and mailed checks.

   8/7/2019 BC    Investor Relations                                                       0.20             12.00
                  Contacted claimants regarding check that hadn't cleared. Updated        60.00/hr
                  addresses in Quickbooks.

            KW    Investor Relations                                                       0.30             24.00
                  Spoke with investor with questions about the distributions.             80.00/hr

            MRF Investor Relations                                                         0.40             36.00
                Re-issued distribution checks per instructions from Alison Juroe and      90.00/hr
                faxed confirmation to bank for processing.

            AJ    Investor Relations                                                       0.10             21.00
                  Reissue checks, confer with Bonnie, and email Matt re same.            210.00/hr

            AJ    Investor Relations                                                       0.20             42.00
                  Confer with Kim re claim issue, incorrect claim calculation.           210.00/hr




                                                                                       Exhibit A - Page 54
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                           Page       3

                                                                                                Hrs/Rate         Amount

   8/8/2019 AJ     Investor Relations                                                               0.20             42.00
                   Calls with claimants re distribution checks.                                   210.00/hr

   8/9/2019 AJ     Investor Relations                                                               0.20             42.00
                   Gave Kim direction re MT checks, updating report.                              210.00/hr

  8/12/2019 TM     Investor Relations                                                               1.00         165.00
                   Email from Diaz with items to post to website. Prepared narrative,             165.00/hr
                   uploaded documents, posted to website and sent out emails to
                   subscribers. Email to group re completion.

  8/13/2019 AJ     Investor Relations                                                               0.10             21.00
                   Review email from investor with questions re DA's case against                 210.00/hr
                   Cooper. Forward to Tom for response.

  8/15/2019 AJ     Investor Relations                                                               0.20             42.00
                   Email to Millennium Trust with detailed info requested on IRA clients.         210.00/hr

  8/22/2019 MRF Investor Relations                                                                  0.40             36.00
                Received instructions from Alison Juroe and re-issued distribution                 90.00/hr
                checks to proper payee.

  8/27/2019 AJ     Investor Relations                                                               0.20             42.00
                   Review voicemail from Tom re Total Wealth investor. Review                     210.00/hr
                   message and discuss case status with Kim. Direct Kim to return the
                   call. Confer with Bonnie re same.

            KW     Investor Relations                                                               0.40             32.00
                   Spoke with investor with questions about the distributions.                     80.00/hr

  8/28/2019 AJ     Investor Relations                                                               0.30             63.00
                   Confer with Kim re Sheila Conner. Confer with Bonnie re same.                  210.00/hr
                   Review emails and VM archives to confirm no call or email other than
                   claim filing.

  8/29/2019 AJ     Investor Relations                                                               0.20             42.00
                   Call with Tom re Total Wealth investor with claim error. Call with Kim         210.00/hr
                   re same.

            KW     Investor Relations                                                               0.40             32.00
                   Spoke with investor with questions about the distributions.                     80.00/hr

            AJ     Investor Relations                                                               0.30             63.00
                   Review email and confer with Kim re Sheila Conner. Confer with                 210.00/hr
                   Bonnie re same. Review email and vm archives and confirm no calls
                   or emails other than claim filing.

  8/30/2019 KW     Investor Relations                                                               0.40             32.00
                   Spoke with investor with questions about the distributions.                     80.00/hr


            SUBTOTAL:                                                                       [      10.90        1,545.00]




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                         Page       4

                                                                                              Hrs/Rate         Amount

            Project Management

   8/6/2019 AJ    Project Management                                                              0.70         147.00
                  Work on gathering details and figures for response to Josh for report         210.00/hr
                  to court. Email Josh with distribution status.

  8/12/2019 AJ    Project Management                                                              0.10             21.00
                  Review email from Josh del Castillo.                                          210.00/hr

  8/16/2019 AJ    Project Management                                                              0.10             21.00
                  Review email from Josh related to SEC filed non-oppostion to PPCN             210.00/hr
                  settlement.


            SUBTOTAL:                                                                     [       0.90         189.00]

            Receivership Administration

   8/7/2019 BC    Receivership Administration                                                     0.30             18.00
                  Contacted claimants regarding check that hadn't cleared. Updated               60.00/hr
                  addresses in Quickbooks.

            BC    Receivership Administration                                                     0.30             18.00
                  Prepared checks for mailing to claimants.                                      60.00/hr


            SUBTOTAL:                                                                     [       0.60             36.00]

            For professional services rendered                                                   15.20       $2,118.00


            Balance due                                                                                      $2,118.00




                                                                                              Exhibit A - Page 56
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                           Hrs/Rate      Amount

           Accounting & Reporting

 9/19/2019 AJ     Accounting & Reporting                                                       0.40       84.00
                  Reconcile bank account. Review outstanding checks. Confer with             210.00/hr
                  Bonnie re reissues requested. Process reissues and email Matt re
                  same.

           MRF Accounting & Reporting                                                          0.70       63.00
               Call with CPA re wrapping up case and final tax returns. Received              90.00/hr
               instructions from Alison Juroe and voided outstanding distribution
               checks.

           MRF Accounting & Reporting                                                          0.40       36.00
               Received instructions from Alison Juroe and stop-paid/re-issued                90.00/hr
               distribution check.

 9/20/2019 AJ     Accounting & Reporting                                                       0.70      147.00
                  Work on finalizing amounts for Norman to file. Confer with Matt re         210.00/hr
                  interest on treasury funds. Print statement. Confer with Tom re
                  adjusting entry. Email Norman with info requested.

 9/27/2019 MRF Accounting & Reporting                                                          0.20       18.00
               Responded to banker re treasury investments.                                   90.00/hr


           SUBTOTAL:                                                                   [       2.40      348.00]

           Investor Relations

  9/3/2019 AJ     Investor Relations                                                           0.20       42.00
                  Review VM and print off copy of cleared check from WF website.             210.00/hr




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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       2

                                                                                             Hrs/Rate         Amount

                  Confer with Tom re code for same. Call with investor and discuss
                  check, endorsement, etc.

   9/3/2019 KW    Investor Relations                                                             0.30             24.00
                  Wrote letter for an investor.                                                 80.00/hr

            AJ    Investor Relations                                                             0.20             42.00
                  Confer with Kim re Conner claim issue. Direct re drafting letter as          210.00/hr
                  requested.

   9/5/2019 AJ    Investor Relations                                                             0.20             42.00
                  Emails and call with claimants and Kim re distribution questions.            210.00/hr

  9/10/2019 AJ    Investor Relations                                                             0.20             42.00
                  Call with investor needing EIN for tax purposes. Confer with Tom and         210.00/hr
                  Matt, and provide info requested.

  9/13/2019 AJ    Investor Relations                                                             0.70         147.00
                  Review and revise letter to claimant. Confer with Kim re details on          210.00/hr
                  claim amounts. Verify revised claim and distribution calculation.
                  Confer with Matt and Tom re check to be cut and get approval.

            MRF Investor Relations                                                               0.30             27.00
                Processed investor check per instructions from Alison Juroe and                 90.00/hr
                mailed.

  9/17/2019 AJ    Investor Relations                                                             0.10             21.00
                  Sent email to investor re claim error resolution.                            210.00/hr

            AJ    Investor Relations                                                             0.10             21.00
                  Review and forward investor email to Bonnie. Review distribution and         210.00/hr
                  confirm check cleared. Review Bonnie's response.

            BC    Investor Relations                                                             0.20             12.00
                  Responded to email from claimant.                                             60.00/hr

  9/19/2019 BC    Investor Relations                                                             0.40             24.00
                  Responded to email from claimant. Updated Quickbooks with address             60.00/hr
                  change.

            KW    Investor Relations                                                             0.30             24.00
                  Spoke with investor about outstanding check.                                  80.00/hr


            SUBTOTAL:                                                                    [       3.20         468.00]

            Project Management

  9/13/2019 AJ    Project Management                                                             0.30             63.00
                  Review emails from Josh and Norman, print final report and begin to          210.00/hr
                  review.




                                                                                             Exhibit A - Page 58
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                            Page       3

                                                                                                 Hrs/Rate         Amount


  9/19/2019 AJ    Project Management                                                                 0.60         126.00
                  Review vm and email from Norman. Review Final Report and make                    210.00/hr
                  comments. Call with Norman and discuss cash balance, revisions,
                  and timing for filing.

            AJ    Project Management                                                                 0.60         126.00
                  Review Distribution motion and look for un-cashed check directive.               210.00/hr
                  Confer with Tom re closing case. Discuss hold back, reserve, etc.
                  Confer with Matt re accountant fees, etc. Confer with Tim re final bill.

  9/23/2019 AJ    Project Management                                                                 0.10             21.00
                  Review email from Matt re box.com renewal.                                       210.00/hr


            SUBTOTAL:                                                                        [       1.60         336.00]

            Receivership Administration

   9/9/2019 BC    Receivership Administration                                                        0.20             12.00
                  Prepared certified mailing to IRS.                                                60.00/hr


            SUBTOTAL:                                                                        [       0.20             12.00]

            For professional services rendered                                                       7.40       $1,164.00


            Balance due                                                                                         $1,164.00




                                                                                                 Exhibit A - Page 59
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                          Hrs/Rate       Amount

           Accounting & Reporting

 9/13/2019 TM     Accounting & Reporting                                                     0.10    NO CHARGE
                  Checked timeslips and email to Bonnie re description.                    165.00/hr

 9/19/2019 TM     Accounting & Reporting                                                     0.10    NO CHARGE
                  Direction to begin final fee app.                                        165.00/hr

 9/28/2019 TM     Accounting & Reporting                                                     3.10    NO CHARGE
                  Checked timeslips for upcoming fee app. Started template for next        165.00/hr
                  application spreadsheet. Prepared spreadsheet of summary for
                  Tom.


           SUBTOTAL:                                                                  [      3.30          0.00]

           For professional services rendered                                                3.30         $0.00


           Balance due                                                                                    $0.00




                                                                                           Exhibit A - Page 60
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                               Hrs/Rate      Amount

           Accounting & Reporting

10/22/2019 AJ     Accounting & Reporting                                                           0.20       42.00
                  Review accounts and reconcile. Run reports for Tom.                            210.00/hr

10/26/2019 MRF Accounting & Reporting                                                              0.40       36.00
               Processed vendor payment deposited tax refund.                                     90.00/hr

10/30/2019 AJ     Accounting & Reporting                                                           0.20       42.00
                  Confer with Tom re Total accounting. Check stale date passed. Void             210.00/hr
                  checks, and reconcile, run reports for Tom. Look up distribution order
                  and confer with Tom re same.


           SUBTOTAL:                                                                       [       0.80      120.00]

           Investor Relations

 10/4/2019 AJ     Investor Relations                                                               0.10       21.00
                  Call from investor, review and forward to Bonnie.                              210.00/hr

10/11/2019 MRF Investor Relations                                                                  0.40       36.00
               Re-issued investor check per instructions from Alison Juroe. Saved                 90.00/hr
               backup documents and gave info to Bonnie Carver for shipping.

           AJ     Investor Relations                                                               0.20       42.00
                  Call with investor re reissue. Confer with Matt re same.                       210.00/hr




                                                                                               Exhibit A - Page 61
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                        Page       2

                                                                             Hrs/Rate         Amount

 10/28/2019 AJ    Investor Relations                                             0.10             21.00
                  Review email from Matt re check stale date.                  210.00/hr


            SUBTOTAL:                                                    [       0.80         120.00]

            Project Management

 10/25/2019 TM    Project Management                                             0.20             33.00
                  Searched for documents on PACER. Downloaded several.         165.00/hr


            SUBTOTAL:                                                    [       0.20             33.00]

            Receiver

 10/30/2019 TAS   Receiver                                                       0.20             54.00
                  Confer with staff and counsel re report and fee app.         270.00/hr


            SUBTOTAL:                                                    [       0.20             54.00]

            For professional services rendered                                   2.00        $327.00


            Balance due                                                                      $327.00




                                                                             Exhibit A - Page 62
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                            Hrs/Rate       Amount

           Accounting & Reporting

10/15/2019 TM     Accounting & Reporting                                                       0.50    NO CHARGE
                  Prepared spreadsheet for Tom re timeslips.                                 165.00/hr

10/16/2019 TM     Accounting & Reporting                                                       0.80    NO CHARGE
                  Checked additional timeslips for next fee app. Email to attorney re        165.00/hr
                  previous Word document and received item.

10/22/2019 TM     Accounting & Reporting                                                       0.10    NO CHARGE
                  Call from Tom re previous fee apps and found info. Called him back.        165.00/hr


           SUBTOTAL:                                                                    [      1.40          0.00]

           For professional services rendered                                                  1.40         $0.00


           Balance due                                                                                      $0.00




                                                                                             Exhibit A - Page 63
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                              Hrs/Rate      Amount

           Investor Relations

 11/6/2019 AJ     Investor Relations                                                              0.10        21.00
                  Confer with Bonnie re email from investor stating checks were not             210.00/hr
                  received. Review accounting and provide direction re same.

11/26/2019 TM     Investor Relations                                                              0.20        33.00
                  Email from attorney re need to remove hyperlink for one of the                165.00/hr
                  postings due to Court order. Tried to log onto Network Solutions four
                  times but it has a problem and is in "service."

11/27/2019 TM     Investor Relations                                                              0.80       132.00
                  Removed hyperlinks from posting of the Receiver's suit against                165.00/hr
                  Private Placement Notes per Court order sent by Scollan. Searched
                  website re if any other postings need to be edited. Email to Scollan.
                  Made back-up of website.


           SUBTOTAL:                                                                      [       1.10       186.00]

           Receiver

11/23/2019 TAS    Receiver                                                                        0.70       189.00
                  Prepare worksheet for final accounting, cash on hand and liabilities.         270.00/hr


           SUBTOTAL:                                                                      [       0.70       189.00]

           For professional services rendered                                                     1.80      $375.00




                                                                                              Exhibit A - Page 64
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                        Page        2

                                                                               Amount


            Balance due                                                       $375.00




                                                                 Exhibit A - Page 65
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                          Hrs/Rate      Amount

           Accounting & Reporting

12/10/2019 MRF Accounting & Reporting                                                         0.50       45.00
               Met with Thomas Seaman & Alison Juroe re closing out case, final              90.00/hr
               accounting, and tax return preparation.

           MRF Accounting & Reporting                                                         0.90       81.00
               Processed final payables and vendor payments. Closed accounts.                90.00/hr

           MRF Accounting & Reporting                                                         2.80      252.00
               Printed financial statements and sent to CPAs for final receivership          90.00/hr
               tax return preparation. Exchanged calls and emails with CPA to clear
               up various general ledger accounts. Provide details re classification of
               incoming funds and expenses re 2019.

           MRF Accounting & Reporting                                                         0.60       54.00
               Received final receivership tax returns and met with Thomas Seaman            90.00/hr
               to execute. Gave instructions to Bonnie Carver re certified mailing of
               final returns.

           MRF Accounting & Reporting                                                         0.50       45.00
               Communicated with vendor to setup document destruction. Met with              90.00/hr
               vendor and provided boxes for shredding.

           AJ     Accounting & Reporting                                                      0.40       84.00
                  Reconcile accounts, download account statements, make interest            210.00/hr
                  entries, and confer with Tom re same.




                                                                                          Exhibit A - Page 66
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                             Page       2

                                                                                                  Hrs/Rate         Amount

 12/10/2019 AJ    Accounting & Reporting                                                              0.40             84.00
                  Case closing slip for Final bank account reconciliations.                         210.00/hr


            SUBTOTAL:                                                                         [       6.10         645.00]

            Investor Relations

 12/10/2019 AJ    Investor Relations                                                                  1.50         315.00
                  Case closing slip for estimated time for investor communications.                 210.00/hr


            SUBTOTAL:                                                                         [       1.50         315.00]

            Project Management

 12/10/2019 AJ    Project Management                                                                  0.30             63.00
                  Confer with Tom and Matt re finalizing case. Review motion and                    210.00/hr
                  declaration sent by David. Email re Box.com account, and other case
                  closing items.

            AJ    Project Management                                                                  0.30             63.00
                  Case closing slip to assist Tom with exhibits and review of Final report.         210.00/hr


            SUBTOTAL:                                                                         [       0.60         126.00]

            Receiver

  12/1/2019 TAS   Receiver                                                                            0.30             81.00
                  Confer with Tim re website re PPCN.                                               270.00/hr

  12/3/2019 TAS   Receiver                                                                            0.20             54.00
                  Emails with counsel re discharge papers.                                          270.00/hr

 12/10/2019 TAS   Receiver                                                                            0.40         108.00
                  Confer with Matt and Alison re closing final accounting work.                     270.00/hr

            TAS   Receiver                                                                            3.70         999.00
                  Review draft discharge papers, re-write accounting, reconcile, make               270.00/hr
                  revisions, add numbers, emails and calls re same.

            TAS   Receiver                                                                            0.60         162.00
                  Prepare SFAR.                                                                     270.00/hr

            TAS   Receiver                                                                            0.90         243.00
                  Prepare reserve variance analysis.                                                270.00/hr




                                                                                                  Exhibit A - Page 67
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Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                  Page       3

                                                                                       Hrs/Rate         Amount

 12/10/2019 TAS   Receiver                                                                 0.40         108.00
                  Approve final distributions.                                           270.00/hr

            TAS   Receiver                                                                 0.50         135.00
                  Confer with Counsel re revisions to discharge papers.                  270.00/hr

            TAS   Receiver                                                                 0.30             81.00
                  Review and revise proposed order.                                      270.00/hr

            TAS   Receiver                                                                 0.40         108.00
                  Review and revise counsel's fee application.                           270.00/hr


            SUBTOTAL:                                                              [       7.70        2,079.00]

            Receivership Administration

 12/10/2019 BC    Receivership Administration                                              0.50             30.00
                  Prepared certified mailings of final receivership tax returns.          60.00/hr


            SUBTOTAL:                                                              [       0.50             30.00]

            For professional services rendered                                            16.40       $3,195.00


            Balance due                                                                               $3,195.00




                                                                                       Exhibit A - Page 68
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                              Hrs/Rate       Amount

           Accounting & Reporting

 12/5/2019 TM     Accounting & Reporting                                                         0.40    NO CHARGE
                  Email from Tom re TWM link. Printed out and explained that the link          165.00/hr
                  has been removed. Researched previous email to Scollan,
                  discussed with Tom and email to Scollan re same.

12/11/2019 TM     Accounting & Reporting                                                         3.00    NO CHARGE
                  Prepared spreadsheet exhibits for fee app for Tom's review.                  165.00/hr

12/12/2019 TM     Accounting & Reporting                                                         4.50    NO CHARGE
                  Finished edits to narrative, entered timeslips and SFAR info. Printed        165.00/hr
                  and gave to Tom. Made exhibits for attorneys.


           SUBTOTAL:                                                                      [      7.90          0.00]

           For professional services rendered                                                    7.90         $0.00


           Balance due                                                                                        $0.00




                                                                                               Exhibit A - Page 69
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 Thomas Seaman Company               FeeApp5                   Summary By Timekeeper


           Thomas Seaman, Receiver for Total Wealth Management, Inc.
                         Fifth Interim Fee Application
                                Summary of Fees
                           Summary By Timekeeper
                   August 1, 2018, through December 31, 2019
 Thomas Seaman, Receiver & Project
 Manager                                       Hours    Rate           Cost
 Aug-18                                           1.3   $270.00          $351.00
 Sep-18                                           0.3   $270.00           $81.00
 Oct-18                                           0.9   $270.00          $243.00
 Nov-18                                           -       $0.00            $0.00
 Dec-18                                           0.9   $270.00          $243.00
 Jan-19                                           4.6   $270.00        $1,242.00
 Feb-19                                           5.1   $270.00        $1,377.00
 Mar-19                                           0.3   $270.00           $81.00
 Apr-19                                           0.9   $270.00          $243.00
 May-19                                           -       $0.00            $0.00
 Jun-19                                           0.2   $270.00           $54.00
 Jul-19                                           -       $0.00            $0.00
 Aug-19                                           -       $0.00            $0.00
 Sep-19                                           -       $0.00            $0.00
 Oct-19                                           0.2   $270.00           $54.00
 Nov-19                                           0.7   $270.00          $189.00
 Total                                           23.1   $270.00        $6,237.00




                                                                   EXHIBIT B
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 Thomas Seaman Company               FeeApp5                   Summary By Timekeeper


 Alison Juroe, Project Manager                 Hours    Rate           Cost
 Aug-18                                           8.7   $210.00        $1,827.00
 Sep-18                                           2.8   $210.00          $588.00
 Oct-18                                           6.2   $210.00        $1,302.00
 Nov-18                                           2.2   $210.00          $462.00
 Dec-18                                           0.7   $210.00          $147.00
 Jan-19                                           1.9   $210.00          $399.00
 Feb-19                                           9.6   $210.00        $2,016.00
 Mar-19                                           1.1   $210.00          $231.00
 Apr-19                                           9.1   $210.00        $1,911.00
 May-19                                          13.7   $210.00        $2,877.00
 Jun-19                                          10.6   $210.00        $2,226.00
 Jul-19                                           6.3   $210.00        $1,323.00
 Aug-19                                           6.4   $210.00        $1,344.00
 Sep-19                                           4.4   $210.00          $924.00
 Oct-19                                           0.8   $210.00          $168.00
 Nov-19                                           0.1   $210.00           $21.00
 Dec-19                                           2.9   $210.00          $609.00
 Total                                           87.5   $210.00       $18,375.00




                                                                   EXHIBIT B
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 Thomas Seaman Company               FeeApp5                   Summary By Timekeeper


 Timothy McDonnell, Project Manager            Hours    Rate           Cost
 Aug-18                                           7.7   $165.00        $1,270.50
 Sep-18                                           2.3   $165.00          $379.50
 Oct-18                                           0.3   $165.00           $49.50
 Nov-18                                           -       $0.00            $0.00
 Dec-18                                           -       $0.00            $0.00
 Jan-19                                           2.0   $165.00          $330.00
 Feb-19                                           1.3   $165.00          $214.50
 Mar-19                                           1.2   $165.00          $198.00
 Apr-19                                           1.2   $165.00          $198.00
 May-19                                           0.2   $165.00           $33.00
 Jun-19                                           0.2   $165.00           $33.00
 Jul-19                                           0.1   $165.00           $16.50
 Aug-19                                           1.0   $165.00          $165.00
 Sep-19                                           -       $0.00            $0.00
 Oct-19                                           0.2   $165.00           $33.00
 Nov-19                                           1.0   $165.00          $165.00
 Dec-19                                           -       $0.00            $0.00
 Total                                           18.7   $165.00        $3,085.50




                                                                   EXHIBIT B
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 Thomas Seaman Company               FeeApp5                   Summary By Timekeeper


 Darren Clevenger, Project Manager             Hours    Rate           Cost
 Aug-18                                           0.1   $160.00          $16.00
 Sep-18                                           -       $0.00           $0.00
 Oct-18                                           -       $0.00           $0.00
 Nov-18                                           0.1   $160.00          $16.00
 Dec-18                                           -       $0.00           $0.00
 Jan-19                                           -       $0.00           $0.00
 Feb-19                                           0.8   $160.00         $128.00
 Mar-19                                           1.0   $160.00         $160.00
 Apr-19                                           -       $0.00           $0.00
 May-19                                           0.6   $160.00          $96.00
 Jun-19                                           -       $0.00           $0.00
 Jul-19                                           0.6   $160.00          $96.00
 Aug-19                                           -       $0.00           $0.00
 Sep-19                                           -       $0.00           $0.00
 Oct-19                                           -       $0.00           $0.00
 Nov-19                                           -       $0.00           $0.00
 Dec-19                                           -       $0.00           $0.00
 Total                                            3.2   $160.00         $512.00




                                                                   EXHIBIT B
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 Thomas Seaman Company               FeeApp5                   Summary By Timekeeper


 Various Adminstrative Assistants              Hours     Rate          Cost
 Aug-18                                           24.1    $83.00       $2,003.00
 Sep-18                                           19.4    $80.00       $1,558.00
 Oct-18                                           11.9    $80.00         $947.00
 Nov-18                                            2.0    $80.00         $160.00
 Dec-18                                            5.0    $83.00         $414.00
 Jan-19                                            6.6    $85.00         $561.00
 Feb-19                                            4.4    $82.00         $362.00
 Mar-19                                            4.6    $80.00         $368.00
 Apr-19                                           51.4    $76.00       $3,898.00
 May-19                                           13.6    $81.00       $1,106.00
 Jun-19                                            3.4    $85.00         $288.00
 Jul-19                                            2.2    $86.00         $189.00
 Aug-19                                            7.8    $78.00         $609.00
 Sep-19                                            3.0    $80.00         $240.00
 Oct-19                                            0.8    $90.00          $72.00
 Nov-19                                            -       $0.00           $0.00
 Dec-19                                            5.8    $87.00         $507.00
 Total                                           166.0    $80.00      $13,282.00




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 Thomas Seaman Company               FeeApp5                   Summary By Timekeeper


 Total                                         Hours     Rate          Cost
 Aug-18                                           41.9   $130.00       $5,467.50
 Sep-18                                           24.8   $105.00       $2,606.50
 Oct-18                                           19.3   $132.00       $2,541.50
 Nov-18                                            4.3   $148.00         $638.00
 Dec-18                                            6.6   $122.00         $804.00
 Jan-19                                           15.1   $168.00       $2,532.00
 Feb-19                                           21.2   $193.00       $4,097.50
 Mar-19                                            8.2   $127.00       $1,038.00
 Apr-19                                           62.6   $100.00       $6,250.00
 May-19                                           28.1   $146.00       $4,112.00
 Jun-19                                           14.4   $181.00       $2,601.00
 Jul-19                                            9.2   $177.00       $1,624.50
 Aug-19                                           15.2   $139.00       $2,118.00
 Sep-19                                            7.4   $157.00       $1,164.00
 Oct-19                                            2.0   $164.00         $327.00
 Nov-19                                            1.8   $208.00         $375.00
 Dec-19                                           16.4   $195.00       $3,195.00
 Total, Receiver and Agent hours                 298.5   $139.00      $41,491.50




                                                                   EXHIBIT B
                                                                           Page 75
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    1                                             PROOF OF SERVICE
    2                      Securities and Exchnnge Commission a. TotalWenltlt Manngement, Inc., et al
                                   USDC, Southern District of California - Case No. '15-cv-226 BAS-MSB
    J
                am employed in the County of Los Angeles, State of California. I am over
                     I
    4
        the age of 18 and not a party to the within action. My business address is
    5   865 S. Figueroa Street, Suite 2800, Los Angeles, California 90017-2543.
    6         On January 23r2020,I caused to be served on all the parties to this action
        addressed as stated on the attached service list the document entitled:
    7
                   FINAL APPLI        TION FOR PAYMENT OF FEES OF RECEIVER.
    8                                      THOMAS SEAMAN
    9                OFFICE MAIL: By placing in sealed envelope(s), which I placed for
   10
                     collection and mailing today following ordinary business practices. I am
                     readily familiar with the firm's practice for collection and processing of
   1l                correspondence for mailing; such coffespondence would be deposited with the
   t2                U.S. Postal Service on the same day in the ordinary course of business.
                     OVERNIGHT DELIVERY: I deposited in a box or other facility regularly
   13
                     maintained by express service carrier, or delivered to a courier or driver
   t4                 authorized by said express service carrier to receive documents, a true copy of
                     the foregoing document(s) in sealed envelope(s) or package(s) designed by the
   15
                     express service carcier, addressed as indicated on the attached service list, with
   I6                fees for overnight delivery paid or provided for.
   l7                HAND DELIVERY: I caused to be hand delivered each such envelope to
                     the office of the addressee as stated on the attached service list.
   18
                     ELBCTRONIC MAIL: By transmitting the document by electronic mail to
   t9                the electronic mail address as stated on the attached service list.
   20                E-FILING: By causing the document to be electronically filed via the Court's
   2t                CM/ECF system, which effects electronic service on counsel who are
                     registered with the CM/ECF system.
   22
                     FAX: By transmitting the document by facsimile transmission. The
   23                transmission was reported as complete and without effor.
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Case 3:15-cv-00226-BAS-MSB Document 259-2 Filed 01/23/20 PageID.5521 Page 78 of 78



    1                I declare that I am employed in the office of a member of the Bar of this Court
        at whose direction the service was made. I declare under penalty of perjury under the
    2
        laws of the United States of Americalhat the foregoing is true and correct. Executed
    J   on January 23,2020 at Los Angeles, California.
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